                                                                       Page 1

1                            UNITED STATES DISTRICT COURT

2                            EASTERN DISTRICT OF MISSOURI

3                                     EASTERN DIVISION

4

5             JAMES GARAVAGLIA,                                )

6                                                              )

7                   Plaintiff,                                 )

8                                                              ) Cause No.

9             vs.                                              ) 4:20-CV-1681-

10                                                             ) CDP

11            CITY OF ST. LOUIS, et al.,                       )

12                                                             )

13                  Defendants.                                )

14

15                           DEPOSITION OF DARLENE GREEN

16                         Taken on behalf of the Plaintiff

17                                   February 17, 2022

18

19                                Sheryl A. Pautler, RPR,

20

21                          MO-CCR 871, IL-CSR 084-004585

22

23                      (The proceedings began at 9:42 a.m.)

24

25                                                                           HH

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1       Is this document for the organization structure
2       under a second deputy comptroller position?
3              A.        This document -- this page is for the
4       deputy comptroller.
5              Q.        Are -- there is -- as of 2019, there was
6       multiple deputy comptrollers; is that correct?
7              A.        There was one deputy comptroller and then
8       there was a deputy comptroller for the Finance &
9       Development.
10             Q.        All right.    So are you saying --
11             A.        What I'm saying -- I'm being very clear
12      and succinct here.
13             Q.        Okay.
14             A.        And I'm being that way because of what
15      you're -- to answer your question correctly.                  There
16      was one deputy comptroller.                And then there was a
17      deputy comptroller for Finance & Development.
18             Q.        Okay.   Were those two positions equal
19      level positions, the ones you just named?
20             A.        Not in the same manner as I believe you're
21      asking.         If you can be clear, then I'll be clearer
22      with you.         Can you -- because there is function and
23      there is personnel title and class.                  They were equal
24      in personnel title and class, unequal in function.
25             Q.        Unequal in function of terms of the level

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1       they're at or in terms of their duties?
2              A.       In terms of not only their duties but in
3       terms of the charter responsibilities.
4              Q.       Okay.   Did either deputy comptroller or to
5       be more clear the deputy comptroller versus the
6       deputy comptroller of Finance & Development ever
7       report to the other in any manner?                    And I mean in an
8       organizational structure, supervisory, subordinate
9       type role.
10             A.       Both deputy comptrollers report to the
11      comptroller.
12             Q.       All right.      Directly, correct?          There's
13      not any -- anything in between your position and
14      their position?
15             A.       Correct.
16             Q.       All right.
17             A.       But there is a status difference in terms
18      of function in my office.
19             Q.       Okay.   What do you mean by that?
20             A.       Per the charter.
21             Q.       What is the difference?
22             A.       The charter states that there shall be one
23      deputy comptroller.
24             Q.       Okay.
25             A.       And that position on this Page 289 is that

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1       deputy comptroller per charter.
2              Q.       Understood.    So what's the -- how does
3       that impact their status in an organizational chart
4       as far as being on the same level?                  And I mean as
5       far as supervisor support.              Does it at all?
6              A.       Could you be more clear?
7              Q.       Well, I mean, you've answered that they
8       have a different level.            And I'm trying to get at
9       what you mean by that.           Do you mean that in terms of
10      their duties and roles or what the charter defines
11      it or do you mean it specifically as in one is some
12      way subordinate to the other?
13             A.       One is in some way subordinate to the
14      other.
15             Q.       Okay.   And what way is that?
16             A.       Charter responsibility, charter
17      definition, charter function.
18             Q.       To your understanding, does the charter
19      define the deputy comptroller of Finance &
20      Development as subordinate to the deputy
21      comptroller?
22                      MR. NORWOOD:     Let me object, because I
23             think it may call for a legal interpretation of
24             the charter.       And it calls for a legal opinion
25             on the part of this lay witness.

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1                        But subject to that objection to the
2              extent you can try to answer, please feel free
3              to try to do so.
4              A.        The deputy comptroller for Finance &
5       Development did not exist prior to my becoming the
6       comptroller.         The deputy comptroller as defined by
7       charter existed.            The charter states that there
8       shall be additional deputies as added.                       This was an
9       added deputy with a specific role, not to replace or
10      usurp the charter's deputy comptroller as required
11      by the charter.
12             Q.       (By Mr. Schmitz)         Okay.         In your job as the
13      comptroller, are you responsible for interpreting
14      the charter in any way?
15             A.        I believe I need to have a clear
16      understanding of the charter in order -- as it
17      relates to my job in order to carry out my job well.
18             Q.        Do you believe you have a clear
19      understanding?
20             A.        I absolutely do.
21             Q.        All right.      So based on that clear
22      understanding, in what way is the position of deputy
23      comptroller of Finance & Development subordinate
24      based on the language of the charter?
25             A.        It is --

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1                               It's subordinate in the way it was
2       defined by the comptroller at the time and the
3       comptroller at the time was me.                   The position was
4       created under my direction expressly for the duties
5       that would be subordinate duties of the deputy
6       comptroller of the office.
7              Q.       Is this something that's been put into
8       writing what you just said at any point?
9              A.       It was, a description of the position was
10      put in writing.
11             Q.       Okay.     Does that description include what
12      you just said, that it was intended to be a position
13      that was subordinate to the duties of the deputy
14      comptroller as listed in the charter?
15             A.       Over the years when both positions
16      existed, the question has come up by deputy
17      comptroller at the time and deputy comptroller for
18      Finance & Development, and it became a question
19      asked and answered and understood.
20             Q.       So my question was, the job description
21      you referred to, was what you just said included in
22      any of those documents?
23             A.       In terms of it being a subordinate
24      position?
25             Q.       Correct.

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1              A.       I don't recall.
2              Q.       All right.      Do you recall any document
3       where that would be expressly stated?
4              A.       I do.
5              Q.       Okay.     Can you tell me what those are?
6              A.       It would have been in a memo.         And it
7       would have been between -- let's see -- the deputy
8       comptroller -- it would have been in the early
9       2000s.      Deputy Comptroller Bozzo and Deputy
10      Comptroller for Finance, Ivy Pinkston, at the time.
11      There was a big question as to the responsibility,
12      the level.        And it was very clear and made clear
13      that Deputy Comptroller Bozzo had the superior
14      position.
15                              The question came because the staff
16      questioned.        The staff needed to be clear as to who
17      to listen to in all phases of the office.               And it
18      was the bottom line that Deputy Comptroller Bozzo
19      was at the helm.           And that was made clear.
20             Q.       In this memo?
21             A.       That I recall.
22             Q.       All right.      Did you write the memo?
23             A.       I did not.
24             Q.       Do you know who wrote the memo?
25             A.       I do not.

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1              Q.        Were there any additional memos written
2       subsequent to that?
3              A.        Not that I recall.
4              Q.        Would you say, then, that the deputy
5       comptroller of Finance & Development actually takes
6       direction from the deputy comptroller?
7              A.        At times.
8              Q.        Okay.     What times would those be?
9              A.        Because the office is a finance -- it's
10      generally -- I said finance.                  But I mean it is
11      largely an accounting office, the deputy comptroller
12      for Finance & Development does not cross over into
13      the duties of the accounting services.                  But must
14      coordinate their activities in order that they may
15      work together well in order to produce the work
16      product that's necessary in order for them to
17      operate their jobs.
18                               That is critical, that they have an
19      understanding of the functions and positions of each
20      other's jobs so that they wouldn't get crossways
21      with whose responsibility it is in terms of the
22      different work activities that come through our
23      office.         That's very critical.
24                               As the comptroller, I also have to
25      have a very clear understanding of the functions of

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1       the two deputies.        Chiefly because they are the same
2       class.      Chiefly because it appears that they shall
3       operate at the same level and have the same
4       authority.        And they do not.
5                            That is expressly impart -- I have
6       over the years been very clear and expressed to the
7       best of my ability as controller, the importance of
8       the separation of the duties of the two.           As well as
9       the importance of the two deputies working together.
10      Extremely important.
11                           We have had times where they would
12      bump heads.        But in the end, and for the best
13      interest of the City, for the best interest of the
14      office, they must work together.
15             Q.       Are there -- so they have distinct
16      functions, is what you're saying?
17             A.       They have distinct functions.
18             Q.       Does the deputy comptroller take direction
19      from the deputy comptroller of Finance & Development
20      when it comes to issues directly under the purview
21      of the deputy comptroller of Finance & Development?
22             A.       In some cases.
23             Q.       So there are times, depending on what the
24      issue is, where both would take direction from the
25      other; is that your expectation?

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1              Q.       So my question, just to repeat it, and you
2       answered with one of them:              Are there any other
3       actions that you as the appointing authority as it
4       relates to discipline need approval from the
5       director or the Department of Personnel?
6                       MR. NORWOOD:     Let me object.           It calls for
7              a legal conclusion with respect to the
8              interpretation of Reg 117.
9                       Subject to that, you can answer to the
10             extent that you can.
11             A.       I'm not aware of any other area of this
12      regulation where I would need approval from the
13      Director of Personnel.
14             Q.       (By Mr. Schmitz)        All right.        These pages
15      don't have Bates stamps.            So I'm just going to ask
16      you to go to Section VI, where it's marked forced
17      leave.      If you can let me know when you have that.
18             A.       I have it.
19             Q.       All right.     Thank you.           Have you ever
20      placed anyone on forced leave or sought approval
21      from the Director of Personnel to place somebody on
22      forced leave?
23             A.       Yes.
24             Q.       Okay.   Have you done it more than once?
25             A.       Yes.

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1              Q.       If you know, can you tell me approximately
2       how many times that you've participated in this
3       process?
4              A.       Two.
5              Q.       All right.     Can you tell me who those
6       individuals are?
7              A.       Yes.
8                       MR. NORWOOD:     Let me object to the extent
9              that we're talking about personnel matters that
10             involve nonparties in this case.            I don't
11             believe that -- well, actually I'm going to
12             differ to the City counselor on the position
13             about discussing the names of individuals who
14             are not parties to this case, and discipline
15             related to those individuals.
16                      MR. BLANKE:     Let me just point out for the
17             record that there is a protective order in
18             place which deals with this very thing in
19             depositions.      Where we want to make something
20             subject to that protective order, there's a
21             procedure to do so.
22                      MS. HAMILTON:     He's not yet asked for the
23             names.      That's why I didn't say anything yet.
24                      MR. NORWOOD:     I think he just did.
25                      MR. SCHMITZ:     I did.

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1                        MR. BLANKE:     That's my understanding.
2                        MS. HAMILTON:     Either way.
3                        MR. NORWOOD:     So then can we have an
4              agreement on the record, then, what we'll do is
5              when we get the deposition transcript, we will
6              designate the pages as confidential?
7                        MR. BLANKE:     Absolutely.
8                        MR. NORWOOD:     So the record is clear on
9              what portions of that will be confidential.
10                       MR. BLANKE:     That's fine.
11                       MR. NORWOOD:     Subject to all of that,
12             Madam Comptroller, to the extent you can answer
13             that question, feel free to do so.
14             A.        You want the name?
15             Q.       (By Mr. Schmitz)      Well, you identified two
16      people.         So those two --
17             A.        Yes.
18             Q.        -- subject to those objections.
19             A.        Well, the first person was an African
20      American female named Elaine Spearman.
21                       MR. BLANKE:     I'm sorry.         Elaine?
22                       THE WITNESS:     Elain Spearman.
23                       And the second one was Jim Garavaglia.
24             Q.       (By Mr. Schmitz)      Do you know approximately
25      the time frame for Elaine Spearman subject to the

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1       same objections?
2               A.      April 20, 2016.
3               Q.      All right.     Are you familiar with the
4       steps that need to be taken, then, in order to have
5       some -- an employee placed on forced leave?
6               A.      Yes.
7               Q.      All right.     And just to be clear, where do
8       those -- the procedure and the steps for that come
9       from?
10              A.      From Regulation 117.
11              Q.      All right.     You already testified that the
12      Director of Personnel must approve that, correct?
13              A.      Yes.
14              Q.      Do you know anything about what that
15      employee's rights are after they've been placed on
16      forced leave?
17              A.      I believe there's a right to appeal.
18              Q.      All right.     And where does that appeal go?
19      Who do they appeal to, the employee?
20              A.      Civil Service Commission, I believe.
21              Q.      All right.     You have G ready.     Thanks.
22                      MR. BLANKE:     Sorry.
23                      MR. NORWOOD:     That's all right.
24                      MR. BLANKE:     Your table is way too big for
25              me.

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1              A.       Yes.
2              Q.       Okay.   What other documents would bind the
3       City to your knowledge?            I'm not asking for a legal
4       conclusion.        I'm asking based on your role as
5       comptroller.
6              A.       Lease agreements, financial closing
7       documents, development closing documents.                 Those
8       documents that are directing the comptroller to sign
9       that have directed the comptroller to sign per
10      ordinance.
11             Q.       Do you make those determinations yourself
12      or do you ever seek help in making that
13      determination?
14             A.       The documents that I have to sign that
15      are, I will call, everyday documents such as
16      contracts and leases are very clear as to the
17      signature from the comptroller.                 It's very clear to
18      me in terms of not having to seek a recommendation.
19      It's also clear by the majority of the offices and
20      department -- and particular department heads of the
21      entire City of St. Louis as to the authority and the
22      understanding of the authority -- signature
23      authority in the City.
24             Q.       And so just to reiterate my question, have
25      you ever had to seek counsel --

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1              A.       Yes, that would have been the second part
2       of my question -- I mean my answer.                You asked a
3       compound question.        And so I gave you the everyday
4       situations for the contracts and leases where that
5       is widely understood, not only by myself, as well as
6       99 percent of all directors and all departments of
7       the City.        That the signature authority lies with
8       the comptroller.        In addition to that, when we have
9       development documents.          Other types of financial
10      documents --
11                      MS. HAMILTON:     Madam Comptroller, to the
12             extent that you have sought legal advice, you
13             have answered that there are circumstances that
14             you do.      Otherwise, I will object that the
15             advice and the circumstances under which you
16             sought that advice are attorney-client
17             privileged on behalf of the City of St. Louis.
18             And as you are aware --
19                      MR. SCHMITZ:    Well, I'm not asking about
20             the circumstances, and I don't plan to.              So
21             I'm -- especially not particular circumstances.
22             Any questions I'm asking are general in nature.
23             Not anything that relates to any specific
24             instance at this point.
25                      MS. HAMILTON:     Even any general type of

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1                        THE WITNESS:       Exactly.
2                        MR. SCHMITZ:       I'm not characterizing it in
3              any way.          I'm asking it as a question.          I'm not
4              stating it as what she just said.                  So I'd like
5              the witness to clarify that rather than you.
6                        MR. NORWOOD:       I'm not clarifying.        I'm
7              making an objection for the record.
8                        THE WITNESS:       So you want me to clarify
9              what I've sought and what I haven't sought?
10             Q.       (By Mr. Schmitz)         No.      I'll ask it in a
11      different way.            In other words, leases and contracts
12      are those -- you said that's generally understood as
13      something that needed to be signed by the
14      comptroller only; is that your testimony?
15             A.        As per charter, responsibility of the
16      comptroller, I understand that those documents that
17      include leases, contracts that bind the City, I sign
18      and without -- and generally without seeking
19      additional advice.            And that is because the charter
20      provides.
21             Q.        Okay.     So just so that I'm not
22      misunderstanding.            Generally speaking you made that
23      determination yourself?
24             A.        Well, in my position as comptroller, and I
25      want to be real clear that this is a job.                    This is

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1       supervisors.
2              Q.       All right.      Do you know who was
3       responsible for preparing and generating these
4       rules?
5              A.       Yes.
6              Q.       All right.      Who?
7              A.       Elaine Spearman.
8              Q.       Did she do that with your assistance?
9              A.       No.
10             Q.       How did she know what rules to have for
11      the Office of the Comptroller?
12             A.       As an employee and an attorney in the
13      Office of the Comptroller gaining -- I believe she
14      would have gained the knowledge of the personnel
15      rules and would put this together to adhere to those
16      rules that would be personnel rules when this
17      document was prepared.
18             Q.       Do you know when this document was
19      prepared?
20             A.       It says 1999.
21             Q.       It does.     And then do you see what it says
22      on the front page below that?
23             A.       Yes.
24             Q.       What does it say?
25             A.       Updated and reissued February 2010.

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1       that position?
2              A.        Could you be more clear?
3              Q.        Well, I want you to say whatever is
4       responsive to the question.                  So you know he was
5       ultimately picked as the replacement deputy
6       comptroller of Finance & Development, correct?
7              A.        Correct.
8              Q.        So what was your involvement, if any, in
9       making that selection?
10             A.        I reviewed the list of six people.           And I
11      remember interviewing the people, each of the
12      people.         And there was one individual who was in the
13      finance industry at the time that I was interested
14      in who I had actually spoken with prior to --
15      actually spoken to and was among the people who were
16      actively, I guess, looking at the position from the
17      financing.         In other words, an investment banker was
18      on that list.
19             Q.        Okay.
20             A.        Investment banker was on that list.              And
21      that investment banker was very interested in the
22      job.
23             Q.        Do you recall who that individual was?
24             A.        Ron Browning Smith.
25             Q.        You said Ron Browning Smith?

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1              A.       Yes.
2              Q.       Okay.    And what happened with that?          Did
3       he -- you did not hire him obviously.                 So --
4              A.       He was offered the job.
5              Q.       Okay.    Did he decline?
6              A.       Yes.
7              Q.       Do you know approximately how old he is?
8              A.       Over 70.     At the time, he was 70.
9              Q.       Can you tell me, do you recall what race
10      he is?
11             A.       Black.
12             Q.       All right.      So after he declined the job,
13      what did you do next?
14             A.       I reviewed other candidates and reviewed
15      my options.        And eventually made a determination
16      that I believe was in the best interest of the -- of
17      the Office of the Comptroller to talk with Jim about
18      considering accepting the job with making some
19      changes.
20             Q.       What changes are those?
21             A.       The job that in its current form and as it
22      was advertised would be changed to have less duties
23      than would be there for the finance functions.                  And
24      the reason for that was since he was an asset
25      manager, that he would also maintain his duties as

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1       asset manager.           And I needed to know if he was
2       accepting of that type of arrangement prior to
3       accepting the position.
4              Q.       Okay.     So the duties of the asset manager
5       were not one that Ivy Pinkston --
6              A.       That is correct.
7              Q.       All right.
8              A.       My reason for that was because Ivy
9       Pinkston did not ever have Jim involved in the
10      business of Finance & Development while she was
11      deputy comptroller.           I was very observant of that.
12      I understood that Jim did not have the skills
13      required to be in the position, even though he had
14      worked under her as asset manager.
15                              He had never interacted with bankers,
16      investment bankers, and the attorneys that were bond
17      attorneys, and those professionals that worked in
18      the area while Ivy Pinkston was the deputy
19      comptroller for Finance & Development.                   Jim was not
20      assigned in that area at all.
21                              I was observant of that, because she
22      did come down with an illness.                   I was observant of
23      who she would put in charge of certain areas that
24      she was -- had charge over.                 Candace Gorden, Ryan
25      Coleman, Eunetter Steele, became those individuals

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1       that I as the comptroller rely on for all of the
2       business of Finance & Development while Ivy Pinkston
3       was the deputy comptroller --
4              Q.       Okay.
5              A.       -- of Finance & Development.               Jim was
6       fully in his role and very active as the asset
7       manager and all the duties that was under him.                       But
8       none of them crossed over into the Finance &
9       Development area.
10             Q.       So when he became the deputy comptroller,
11      did those people continue to perform those duties?
12             A.       Candace Gorden retired.               She was the top
13      person under -- the top assistant under Ivy
14      Pinkston.        And she retired.
15             Q.       So who performed those duties after that?
16             A.       Eunetter Steele was --
17             Q.       Before you jump to that, I want to make
18      sure we don't get too confused.                   Candace --
19             A.       Retired.
20             Q.       -- she retired, who took on those duties?
21             A.       I did.
22             Q.       So that was not something that fell under
23      Jim?
24             A.       It did not.
25             Q.       All right.      And then you were mentioning

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1       somebody else?
2              A.       Ryan Coleman.
3              Q.       I think you said Eunetter?
4              A.       Eunetter Steele.
5              Q.       Did she remain in her position --
6              A.       Yes.
7              Q.       -- after Jim got promoted?
8                              Okay.   Who did she report to?
9              A.       I do not recall, because I don't know if
10      Jim would -- accepted her as an employee or if she
11      reported to someone else.              I do not recall that.
12      She was the direct assistant -- administrative
13      assistant to Ivy Pinkston.
14                             What I know for sure is that the
15      protocols that was established for that work
16      progress for Finance & Development was no longer
17      followed.        Eunetter Steele had developed the work
18      protocol with the leadership of Ivy Pinkston.               After
19      Jim took the position, those protocols fell apart.
20             Q.       Can you elaborate on that?
21             A.       Eunetter Steele remained in her position
22      after the passing of Ivy Pinkston, and made herself
23      available to assist, to train, and help in any way
24      whatsoever for the new deputy comptroller for
25      development, which was Jim Garavaglia.               I was told

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1       and observed that those protocols were not followed.
2       Those were instructions of my office from me, the
3       comptroller, to have those well-oiled procedures and
4       policies to be continued.            And they were not
5       followed.
6              Q.       Who told you that?
7              A.       I observed --
8              Q.       I know you said that.          Who told you that.
9       You said somebody told you?
10             A.       I didn't say that.        I said I observed.
11             Q.       You said I was told -- could you read the
12      record back just to be clear?
13                      THE COURT REPORTER:         Answer:   Eunetter
14             Steele remained in her position after the
15             passing of Ivy Pinkston, and made herself
16             available to assist, to train, and help in any
17             way whatsoever for the new deputy comptroller
18             for development, which was Jim Garavaglia.                I
19             was told and observed that those protocols were
20             not followed.      Those were instructions of my
21             office from me, the comptroller, to have those
22             well-oiled procedures and policies to be
23             continued.      And they were not followed.
24             A.       I was told by Eunetter Steele and by my
25      assistant, Chana Morton.

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1              Q.       (By Mr. Schmitz)          Was that something that
2       Chana Morton -- it was part of her job expectation?
3              A.       Absolutely.
4              Q.       Okay.     So just to be clear, your
5       administrative assistant, one of her job roles is to
6       observe the practices of the deputy comptroller and
7       the deputy comptroller for Finance & Development?
8              A.       One of her roles is to make sure that the
9       comptroller's instructions that she is well aware of
10      and understands is adhered to when it comes to
11      receiving documentation on behalf of me, the
12      comptroller.          She understood the well-oiled system
13      because it existed from the beginning of the
14      creation of the position itself.
15                              It was not rocket science.       We were
16      handling and managing very important financial
17      documents that had not, before the position,
18      occurred as regularly as it was occurring during my
19      administration.
20             Q.       When did you become aware of this?          You
21      said you observed it and you were told by two
22      individuals.
23             A.       Mishaps occurred.
24             Q.       No.     My question is when.
25             A.       Mishaps occurred when Jim Garavaglia, when

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1       he was --
2              Q.       When did you become aware of it?
3              A.       I became aware immediately upon Jim
4       Garavaglia's handling of documentation that was
5       Finance & Development that was mishandled.                 In other
6       words, the handling of the documents was no longer
7       the same as had been before he took the position.
8       So that was an immediate.
9              Q.       Okay.   So --
10             A.       It was immediate.           And I -- not only was I
11      observing it, but I asked a question about it
12      because I needed to know who and why.                 It was that
13      important to know.          I did not want to jump to a
14      conclusion and say that it was somebody when it was
15      not.     But I needed to know.              So the observation was
16      immediate.
17             Q.       Okay.   So what steps did you take in
18      response?
19             A.       I asked questions.
20             Q.       To whom?
21             A.       Eunetter Steele, Chana Morton, Jim
22      Garavaglia.
23             Q.       And then what?
24             A.       I was given answers.
25             Q.       And then what?

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1              A.       And then I had to observe the next go
2       around to see if there were corrections made based
3       on instructions that I had given after having the
4       discussions about the process and how the process
5       should go.        And this is a process about making sure
6       that there's a circulation of the documents which
7       was efficient and in order to make sure that we are
8       meeting deadlines.
9                               Whenever there's a financing, there's
10      deadlines that are in place.                 Elected officials are
11      not always going to be at their desk, the major, the
12      comptroller, the treasurer and other signers of
13      public officials that were supposed to sign the
14      documents, were not necessarily going to all be in
15      one place during the time the documents were
16      approaching for signature.                And the deadlines were
17      in stone; not the individuals.
18             Q.       Okay.     Before we talk about the process at
19      length --
20             A.       You're cutting me off, sir.               I would like
21      to finish and it won't take long.                     And it's very
22      important.
23             Q.       Go ahead.
24             A.       Like I said, the deadline was in stone,
25      but not the individuals.              So what was in place was

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1       for the secretaries of -- and assistants, the
2       assistants for each elected official and other
3       officials who were going to sign the documents to
4       find out where those individuals would be and to
5       inform them that there were some important documents
6       that were going to be coming within a certain time
7       period or window.           And then they would arrange among
8       themselves when to get the documents to those
9       individuals so that the deadlines which were very
10      important could be met without question.
11                              Over a couple of decades, that worked
12      perfect.        Then all of a sudden, I observed a
13      dismantling of that system, a well-oiled system that
14      seemed to just stop working.                 And while Eunetter
15      Steele was still present, I couldn't understand.                      So
16      maybe there's something that I'm not understanding.
17      So I kept going back, giving the instruction, to
18      make sure you follow direction.                   And then those
19      directions were not followed by Jim.
20             Q.       And you've documented this?
21             A.       I did.
22             Q.       Over the course of his time as the deputy
23      comptroller?
24             A.       Yes.
25             Q.       Okay.     Where is that documentation?

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1               A.      The documentation would be in the form of
2       a narrative given to an attorney which I believe you
3       also have the narrative.
4               Q.      Was it -- okay.         You are referring to
5       documentation in July of 2019?
6               A.      It follows --
7               Q.      Was there any documentation prior to that?
8               A.      I believe so.        But I can't recall
9       specifically at this time.                But I believe so.
10              Q.      Okay.     How long was Jim the deputy
11      comptroller?
12              A.      From, I believe, June -- May or June of
13      2016, until he retired in 2019.
14              Q.      So in those three years before he was
15      placed on forced leave, what was done in response to
16      what you just articulated you observed and were also
17      told by two different individuals?
18              A.      Well, let me give you an example.              I got a
19      call from Joyce Opinsky, who's a banker with Stern
20      Brothers, the morning of a closing of a financing.
21      She was alarmed.           It was in the morning.           I was on
22      the way to a doctor's appointment.                    Joyce Opinsky
23      said:        If you don't mind, Comptroller, I need your
24      signature.
25                              I was in shock.          I said:   Joyce.

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1                             She says:     Comptroller, whatever you
2       do, I need your signature by noon.
3                             I said:     But Jim -- and I remembered
4       this so well because her office was in Clayton and I
5       was driving to my doctor's appointment at the time.
6       I said:         Joyce, no worries.        I'll swing by your
7       office.
8                             I'll come down the elevator.          I'll
9       meet you in the lobby.
10                            I went to Stern Brothers.          I signed
11      the document.         And Joyce and I spoke about how this
12      is happening, how this is happening, and how this
13      had to happen.
14                            She says:     I don't care about what
15      you guys got to do.           In order to sell these bonds, I
16      need your signature.            Thank you so much.
17                            I went to my doctor's appointment.             I
18      didn't hear from Jim that day.                 But what I heard
19      from others in the office is that Jim was surprised
20      that the document was signed.                That was the first
21      time I observed that I'm aware --
22             Q.        Did you speak to Jim about this?
23             A.        I did not.     Jim did not call me.       He's my
24      subordinate.
25             Q.        Did you seek to talk to him about it?

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1               A.      I probably was more concerned with my
2       health on that day that I had just come from the
3       doctor.
4               Q.      Did you follow up?
5               A.      I did not follow up until later on in the
6       weeks.        Because certainly there were other documents
7       that were circulating.          And, yes, I pulled Jim into
8       the office for a conference and a consultation on
9       matters that had to do with signing documents and
10      circulating them.        I did that multiple times.
11                           Not only was it Jim and his
12      secretary, it was also Jim's secretary and Eunetter
13      in my office to have consultation on circulation of
14      the documents and the understanding of such in terms
15      of the importance of how you get the documents
16      circulated properly to let the elected officials
17      know that you'll meet them at a certain time and
18      place to sign documents, instead of having an
19      investment banker to call you while you're on the
20      way to the doctor.
21              Q.      So when was this?
22              A.      This was early on in Jim's tenure as
23      deputy comptroller.        He began June of -- or June of
24      2016.        So it was either the 2016 or 2017 year.     It
25      was early.        It was early enough to alarm me that I

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1       had to have a call from an investment banker to ask
2       for my signature instead of my subordinate who was
3       Jim Garavaglia, who should have called me or my
4       assistant to find out where I would be to sign a
5       document so it could be in time for the closing.
6                               That's millions of dollars of City
7       taxpayer's dollars that we're talking about here.
8       And I had given strict instructions on how, that
9       these procedures for signature should happen.                    And
10      Jim did not follow them.
11             Q.        Where are these procedures?            What document
12      are they contained in?
13             A.        These procedures come from the comptroller
14      verbally.
15             Q.        Did you ever memorialize any of these
16      strict detailed instructions?
17             A.        Yes.    Eunetter Steele did that.
18             Q.        Where are they?
19             A.        I don't -- there was a fold -- there's a
20      thick book in the Office of the Comptroller which
21      was shared with Jim's secretary, from Eunetter
22      Steele to Jim's secretary.                And it happened in my
23      office.         I was sitting right there.            I said:
24      Sheila, are you going to do this work here that
25      it -- it says this is how you circulate these.                    Are

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1              A.       My testimony is the document was made
2       available by Eunetter Steele to help and assist in
3       any way she could, Jim Garavaglia, the secretary to
4       Jim Garavaglia, any assistant to Jim Garavaglia to
5       get the job done.         That's my testimony.
6              Q.       Okay.   So this document was created.          You
7       were aware of it.         You are saying that Jim was
8       provided with it.         Was expected to follow it but
9       didn't right out of the gate and continuously
10      throughout his employment.              Did you not follow up
11      with him?        Did you not take any type of disciplinary
12      action?
13             A.       I followed up with him, yes, and I
14      followed up with him regularly.
15             Q.       In what way?
16             A.       I gave Jim verbal reprimands regularly.
17             Q.       Did you ever put that in an e-mail?
18      Anything related to this issue and his noncompliance
19      with your expectation get memorialized in writing?
20             A.       I'm not sure.
21             Q.       So you're unaware if it did or didn't?
22             A.       I an unsure that I memorialized it in
23      writing on this particular issue, I am unsure.                 But
24      I'm very sure that I gave direct instructions to Jim
25      on how to circulate documents.                 And I'm very sure

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1       that he did not ever follow those instructions as I
2       had given them to him.             And it was very troubling to
3       me that he couldn't do that, because I did take the
4       time and the steps to continuously speak to him and
5       also monitor and also speak to other professionals.
6               Q.      Then there were witnesses to all these
7       conversations?
8               A.      There was not direct witnesses to when I
9       spoke to Jim.           But there are people that I spoke to
10      about the problem.
11              Q.      Okay.     Who would those be?
12              A.      Well, I spoke to -- one of the persons
13      that I spoke to was the financial advisor.              I
14      mentioned very casually that I was experiencing an
15      issue.       And her response was very short.         And I
16      decided that I needed to be more vigilant in my
17      observation so that I would not miss or misinterpret
18      or misunderstand whether there was a
19      misunderstanding on Jim's part or his staff.
20              Q.      Okay.     And what determinations did you
21      make?
22              A.      I determined that after I had given Jim
23      Garavaglia a directive and direct instructions, that
24      not only did he not follow them, was that he was not
25      going to follow them, is what I determined.

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1               Q.      When did you make this determination?
2               A.      I made that determination after the fiasco
3       that happened with the documents with the real
4       estate closing of Vertical Realty.                 I knew then with
5       that fiasco that Jim was never going to follow the
6       directive and protocol and procedure to circulate
7       the documents in a professional manner, in a proper
8       manner, so that they could be signed and a deadline
9       could be met properly.
10              Q.      All right.    So describe this process to
11      me.     What -- give me the detailed description of
12      exactly what should have been done and what should
13      be done in each one of these cases?
14              A.      We have financial closings that involve
15      investment bankers.          But you also have financial
16      closings or extensions or development deals.                 You
17      have all of those kinds of dealings.                 Each of those
18      kinds of deals, you have different protocols.                 But
19      the bottom line is you have different persons who
20      need to be available to sign the documents.                 And the
21      job is to act in a sense of urgency to meet the
22      deadlines on behalf of those who are developers, who
23      are expecting that their project shall be closed on
24      time.        And on behalf of the City of St. Louis who's
25      the issuer of the bonds in most cases.

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1                            City of St. Louis Airport is an
2       example.        Water department, another example.
3       Parking division, another example when it comes to
4       issuing bonds and expecting to adhere to deadlines
5       and meeting those deadlines.              Because again, those
6       are hard deadlines.           The people who have to sign the
7       documents are not.
8              Q.       How many of those deadlines were missed
9       during Jim's tenure?
10             A.       During Jim's tenure, the deadlines were --
11      that were there for each of those were not all met
12      because of Jim.        Because Jim --
13             Q.       Is this documented?
14             A.       Yes, it is.
15             Q.       So there's sales that --
16             A.       Yes, it is.     For example, Vertical Real
17      Estate's closing, that deadline was met without Jim.
18             Q.       So it was met?
19             A.       It was met because I'm observing and I
20      took a special role to observe once I found out that
21      Jim was not handling the documents properly.
22             Q.       So my question was, how many deadlines
23      were not met?
24             A.       I heard your question.             And I gave you an
25      answer.

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1              don't agree with you, but it's on the record.
2              Q.       (By Mr. Schmitz)      Now, how many times were
3       deadlines not met?         One?     Two?       Five?
4              A.        There were no deadlines not met, but it
5       was because of the Comptroller, Darlene Green, who
6       is sitting here answering these questions to you and
7       the staff of the comptroller put in place a
8       procedure and a process to make sure deadlines are
9       met.     It is our job to do the right thing in the
10      Office of the Comptroller to protect the integrity
11      of the office, is what we were doing.
12             Q.        Well, I mean you're laying all the blame
13      at the feet of Jim.            So my question is, how many of
14      these bonds were effected negatively and you've
15      answered my questions.            Now, how many bond sales
16      were successfully completed during Jim's time as
17      comptroller?         Did you look at that?
18             A.        Is that a question?
19             Q.        It is, yes.
20             A.        Did I look at it?
21             Q.        Do you know the answer?
22             A.        Do I know the answer to what?
23             Q.        Do you know the answer?
24             A.        The answer to whether I looked at
25      something or the answer to how many bond deals

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1       and Jim was present along with other members of the
2       staff.      There were just multiple meetings.
3              Q.       Okay.
4              A.       It was pretty common.
5              Q.       So I'm going to go back near the very
6       beginning.        Do you ever recall talking to him about
7       his future in that job?
8              A.       Yes.
9              Q.       Did you talk to him about how long he
10      intended to work?
11             A.       I wanted him to stay there as long as
12      possible.        That's my MO, modus of operandi.               If I'm
13      working, I want you to be working.                     I want you
14      working with me.           I want you working alongside me.
15      I want you to be a partner in the job of working in
16      the Office of the Comptroller.
17                              I am very well-known to have been a
18      person that promotes from within.                     And am very
19      hopeful that the people who work for me want to work
20      for me forever.           Because I like to train, help
21      educate, I want to see people do well.                     I want to
22      see people that work for me to do well.                     And I've
23      shown it in my practice.              When I promote you, I have
24      elevated you to a place of responsibility along with
25      more salary.           Not only to help you but help your

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1       family.
2                         Because you have chosen to work in
3       the Office of the Comptroller, I believe in giving a
4       benefit for that.     I believe that is something that
5       will help the individual employee enjoy the job even
6       that much more.     So that they would want to continue
7       on working for the Office of the Comptroller.
8                         Because there was a lot of times that
9       employees didn't get raises.           But if they got a
10      promotion, then a raise came with that.               That I
11      would hope that that would cause them to want to
12      have a loyalty to the Office of the Comptroller and
13      to work in the Office of the Comptroller.               Because
14      the Office of the Comptroller in the City of
15      St. Louis was an office that I felt, I guess -- we
16      did a lot of good for the community.               I really
17      believe that.
18                        We were complimented a lot in terms
19      of how we served the public, especially during times
20      when the public would call, ask for services.                  And
21      instead of us saying, sorry, you got the wrong
22      office, we'd say wait one moment.               We will direct
23      you to the people that you need to talk to.               And we
24      were happy to have that reputation.               And I was happy
25      to have an employee that would want to stay with the

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1       Office of the Comptroller.              That had experience and
2       that had worked in the community, that had family
3       ties in the community.           It was very important.
4              Q.       Did you ever talk to him about retirement
5       in the beginning?
6              A.       I talked to him about retirement hoping
7       that he would not retire, is what I would most
8       definitely have said to him as well as employees
9       that worked for me.          I hope you wouldn't retire
10      because we need you, want you, in the job.
11             Q.       Do you -- did you talk to him by phone or
12      in person when you --
13             A.       In person.
14             Q.       No.   When you offered him the job?
15             A.       I'm not sure if it was by phone or in
16      person when I offered him the job.                  I don't know.    I
17      just can't recall right now.
18             Q.       Do you recall ever asking him if he was or
19      stating to him that he would be going out on top?
20             A.       Well, in the most complimentary way I did.
21      I was so happy that he was now making a lot more
22      money than he would have been making had he not been
23      promoted to the job.          So that being the top job in
24      the office, I was ecstatic for him.                  And I expressed
25      that to him.

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1                               Because now instead of having an
2       Asset Manager II salary to retire on whenever he
3       chose to do that, he would retire at the top
4       position that he could have in the Office of the
5       Comptroller.           And by God, I was wanting to
6       congratulate him on that.               Because I was happy about
7       it.    And I would hope that he would be happy about
8       it.
9              Q.       Do you know if anybody else was a witness
10      to that conversation?
11             A.       I'm not sure.
12             Q.       Okay.     You don't recall?
13             A.       No, I don't recall.
14             Q.       And did you ever think about if Jim
15      retired or was no longer in that position, who his
16      replacement might be?
17             A.       Yes.     I did think about that.
18             Q.       Okay.     Did you have any thoughts or plans?
19             A.       Well, I thought about it in terms of the
20      asset manager portion of it, is that what you're
21      asking, or are you asking about the deputy
22      comptroller?
23             Q.       Well, I'm asking if you ever thought about
24      who might replace him.
25             A.       While he was in the position?

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1              Q.        Yes.
2              A.        No.
3              Q.        I know we talked about after he was in the
4       position, you guys met.               And I'm not going to repeat
5       and get into that again.               But I do want to ask about
6       a meeting that may have been around March or April
7       of 2019 between you and Bev Fitzsimmons.               I don't
8       know if that's enough information to help you to
9       know if that meeting happened or not or if you
10      recall.         But I'll ask that now.
11                               Do you recall based on that
12      information, a meeting in or around March,
13      April '19 regarding your running for reelection?
14             A.        No, I do not recall.
15             Q.        Okay.     Do you recall any specifics of any
16      conversation you had with Jim where you may have
17      asked him if he intended to retire and when?
18             A.        In the same year or could you --
19             Q.        During any point.
20             A.        I would have had a conversation with Jim
21      and my other deputy comptroller as to whether they
22      would be in my office working for me as long as I
23      was the comptroller.             That would have been the
24      conversation that I would have and have had in the
25      past with deputy comptrollers of the comptroller

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1       since I had the job.         Because every four years, I
2       would not know whether I had a job.
3                            But I did know that as a civil
4       servant, the employees that work for me, they would
5       have a job.        So I wanted to know if they were still
6       wanting to be there working for me in the Office of
7       the Comptroller.        So that would have been the
8       question that I would have had.
9              Q.       So you used the words "would have."     Do
10      you have any specific recollection of any particular
11      meetings where you recall having that actual
12      conversation?
13             A.       I would have made the statement similar to
14      or in the context of hope -- that I would hope that
15      they were not going to retire if I'm planning to run
16      for reelection.        Running for reelection never
17      guaranteed whether I was going to be elected or not.
18      And a high-level employee would be in jeopardy when
19      or if I was not elected.           I was clear about that.
20                           I was very protective of my
21      employees.        So I didn't want to put any jeopardy in
22      their way if I plan to just not run for reelection.
23      So I'm saying it was like kind of a team, a work
24      team, if you will.
25             Q.       Do you recall actually having that

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1       conversation, though, specifically?
2               A.      With Beverly and with Jim at some point.
3       I met with them both --
4               Q.      So you did --
5               A.      -- to let them know.          This was June 11,
6       2019 in the 1520 building, the same day that there
7       was a special E&A meeting scheduled.                 And I asked
8       for a meeting with Beverly and I asked Jim to join
9       me on that day.        To instead of going to the E&A
10      meeting, which was June 11, 2019, I would be absent
11      and I asked that my staff be absent.                 And in lieu of
12      going to the E&A meeting, we would meet and just
13      talk.        And that was June 11, 2019.           And we talked
14      about several issues.
15                           One of the first ones was whether or
16      not any of us had heard from the airport or the
17      airlines regarding the issue of the airline or
18      airport financing.        Because that was the issue that
19      the mayor wanted the special meeting about, to vote.
20      And the airlines -- I had understood as I was going
21      into that meeting, I just heard that the airlines
22      had threatened to come or show up if there was such
23      a meeting to be held.
24                           So I thought it would be best to be
25      outside of city hall and nowhere near just in case

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1       there were some issues of press.                   Later after that
2       meeting, we learned that the airlines had sent the
3       mayor a letter at noon on that day letting her
4       specifically what she needed to do with regard to
5       that airport financing and what their purpose was.
6       They said they prefer the comptroller's financing to
7       whatever she was proposing.              And that if there was
8       such a vote that would go awry of that, that she
9       would hear from them.         And that letter came from the
10      American Airline and Southwest Airline.
11                           So that day was a very memorable day
12      because of that issue.          And I know who I was with.
13      I was with those -- and as a matter of fact, the
14      meeting was at 2:00 at the same time the scheduled
15      E&A meeting was.
16             Q.       And did this meeting include discussions
17      about their future plans?
18             A.       It included conversations about whether or
19      not -- in addition to the conversation, which a
20      large part of the conversation had to do with the
21      airport, and the other part had to do with whether
22      or not they were wanting to be in the comptroller's
23      office, that was what that was about.                   And I
24      remember asking if they had any concerns.                   Do you
25      have any concerns?

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1                               I remember asking about Jim's
2       secretary Sheila, because there had been some
3       problems which was discussed about the circulation
4       of documents, which I was led to believe she was the
5       problem with that.           So I made a point to ask him
6       face-to-face about Sheila, was she okay, was she
7       going to be okay following the instructions.                    I made
8       the point to talk about whatever it is that they had
9       asked me.        That Beverly had asked.              She was present.
10      You know, the three of us was present in the
11      conference room.           I believe we stayed for an hour or
12      less in the meeting.
13             Q.       Okay.     Did you ever give Jim any service
14      ratings?
15             A.       I did not, except for when I had to by --
16      I believe to his working test period.
17             Q.       Okay.     Any particular reason why not?
18             A.       Because I don't give ratings generally to
19      any of my employees.
20             Q.       You say generally, is --
21             A.       Generally unless they ask for it and force
22      me.
23             Q.       Did you give ratings to Bev?
24             A.       For her working test period, I believe I
25      did.

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1       that.
2                               If you know, whose decision was it to
3       have him immediately escorted off the premises
4       without even an opportunity to get his personal
5       items?
6               A.      I don't know if that was a decision made
7       that was -- I don't know or not.                      But what I know is
8       that Judy Armstrong is the appointing authority for
9       personnel.        And that she had the authority to set a
10      process in place for managing all personnel actions.
11              Q.      Were you aware this was going to happen
12      when he was presented with this forced leave?
13              A.      I was aware that he would be presented
14      with the information.            I was aware of that, yes.
15              Q.      Okay.     What about being escorted out, not
16      being allowed to take personal items, that sort of
17      thing?
18              A.      I don't know if I was aware at the time, I
19      don't know.
20              Q.      Why did you decide to place him on forced
21      leave instead of issue a pretermination notice?
22              A.      I had a couple of weeks of disturbing
23      incidents.        One being at the E&A meeting.                The
24      second being the second week, the Wednesday before
25      the Vertical Realty documents needed to be signed,

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1       which was that Friday they needed to be signed, but
2       on that Wednesday, I got an e-mail from Tom Ray,
3       outside attorney who warned our office that there
4       would be trouble he believed, because he learned
5       that Jim Garavaglia had put the documents in the
6       interoffice mail.
7                            So in that e-mail, I discerned that
8       the attorney was trying to protect the integrity of
9       the office with a warning about the documents.             And
10      so I took steps.        I was reminded of what had
11      happened the week before.            And I said, okay, here we
12      are.     Week two, let's get a plan together so that we
13      can have a smooth landing.
14                           And so I took it upon myself to ask
15      my secretary to set up a conference call.             Tom Ray,
16      I said, place him on the conference call with the
17      secretary of the mayor, which was Sherry
18      Wibbenmeyer, myself, my secretary, and
19      Jim Garavaglia.        Those five people on the call.
20             Q.       What date was this?
21             A.       This was Wednesday, June 26.       And it was
22      roughly around 4:00, a little after 4:00.             We had
23      been given -- the e-mail had been received after
24      2:00 from Tom Ray, outside counsel, warning my
25      office about pending trouble because documents had

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1       been placed in interoffice mail.                   In that e-mail,
2       Tom Ray stated that Jim should not have asked
3       Sherry, the secretary, to place the documents in the
4       interoffice mail.
5              Q.       Is Tom Ray familiar with the circulation
6       process for the City?
7              A.       He's extremely familiar with them.             He's
8       worked over 30 years plus on finances and anything
9       and everything to do with the Office of the
10      Comptroller.        He was a former City counselor.             And
11      his job was to be counsel to the Office of the
12      Comptroller.        And subsequent to that, he joined the
13      law firm of Armstrong Teasdale and continued to work
14      on financial matters for the Office of the
15      Comptroller.
16                           So he was familiar with the
17      operations that had been put in place by Eunetter
18      Steele about circulating documents.                   And he had the
19      acute understanding that the secretaries had to make
20      sure that their bosses were in a place to sign the
21      documents.        As a matter of fact, that e-mail was
22      sent to Chana Morton because of his acute knowledge
23      of how the circulation process worked.
24                           Of course he would sound the alarm
25      when he found out that the documents had been placed

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1       in interoffice mail, because he probably never heard
2       of such.        And he stated in that e-mail that Jim
3       should have never put those documents in the
4       interoffice mail.        These were important real estate
5       documents.        As a matter of fact, they were down the
6       hall at the mayor's office.              And the format that Tom
7       Ray was used to, one or the other secretary would
8       walk the documents down.           If Sherry was busy, then
9       my secretary would walk down the hall and get the
10      documents and have them ready for review.
11                           So that's the common practice that
12      Tom Ray was used to.         And he also stated those very
13      words in his e-mail.         He said:         Sherry should have
14      walked the documents down.
15                           So in answer to your question, why
16      did I consider a forced leave instead of immediate
17      disciplinary action, is because I needed to think
18      about what the disciplinary action should look like.
19              Q.      What do you mean by that, you needed to
20      see what the disciplinary action would look like?
21              A.      I wasn't clear.      Jim was a valued employee
22      I had.        Jim had many years in the Office of the
23      Comptroller.        I said, no way I'm going to fire this
24      dude.        I said, I'm going to look at this.          I'm going
25      to see what we need to do here.                So I called up and

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1       had a discussion with the Director of Personnel and
2       explained the problem that I had, and gave him in
3       detail.         And he told me, he said:            Well, Jim's a
4       high level employee of yours.                We have forced leave
5       to deal with employees like that.                   Then you can make
6       your decision.
7                             I said:    Well, you know, you're
8       right.      So I chose to look at forced leave that
9       would give me at least ten to 14 days to make a
10      decision that was fair to Jim.
11             Q.        Did you want --
12             A.        I wanted to make a fair -- if you want me
13      to finish, I will.
14             Q.        Go ahead.
15             A.        I wanted to make a fair decision.
16      Something that was fair to Jim.                 I didn't want to
17      make a decision that was hasty.                 I wanted time to
18      think, because these were serious matters.                   I wanted
19      to know Jim understood how serious this was.                   This
20      is City money.         This is a project that we had been
21      working tirelessly on for many, many years.                   And we
22      finally got it to a place where these guys were
23      going to get this hotel built.                 And we've got one
24      more extension.         Everybody was hanging on, letting
25      me get this one more extension.

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1                             This was a project that started out
2       of our office, out of the Office of the Comptroller.
3       So I was very familiar with it and had been familiar
4       with it for years.         And I was very supportive of it.
5       I wanted it to be successful.                I wanted Jim to be
6       successful.
7               Q.       Did you make the forced leave decision on
8       July 1?
9               A.       I made that forced leave decision on -- on
10      the 28th, on that Friday.
11              Q.       When did you decide that you were going to
12      be seeking termination?
13              A.       I never decided that I was going to be
14      seeking termination.
15              Q.       Can you look at what's marked Plaintiff's
16      Exhibit O?
17              A.       Yes, I have it.
18                                 (Whereupon Exhibit O was marked
19                                 for identification.)
20              Q.      (By Mr. Schmitz)      If you could turn to the
21      fifth page within that packet, it's dated July 2,
22      2019.        And it's addressed to Mr. Richard Frank from
23      you.
24              A.       It's July 2?
25              Q.       July 2, 2019, yes.        This would be the

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1       fifth document in this packet.
2              A.        To Richard Frank from me?
3              Q.        Yes.     Hold on.     I might be counting wrong.
4              A.        Yeah.     I'm on three pages.          This is five
5       right here.
6                        MR. NORWOOD:        No.     He --
7                        THE WITNESS:        He said five.
8                        MR. NORWOOD:        Are you talking about the
9              third page?
10             Q.       (By Mr. Schmitz)           Hold on.    Let me get it
11      right.      Sorry.        Yes, the letter to Jim -- we'll go
12      with the letter to Jim.
13             A.        That's the one on the fifth page.
14             Q.        Right.     Addressed to him from you dated
15      July 2.
16             A.        Yes.
17             Q.        Okay.     Can you just read the first
18      sentence of that paragraph?
19             A.        As of Monday, July 2, 2019, you are being
20      placed on an official forced leave pending a
21      pretermination hearing.
22             Q.        Okay.     So you would agree that a
23      pretermination hearing was already presented as
24      early as July 2?
25             A.        That was the process.             That's what it was

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1       titled, a pretermination hearing.                    It was not meant
2       to be a termination, otherwise it would have stated
3       such.        I was aware that I had options to discipline
4       instead of forced leave.             I chose forced leave
5       instead of discipline.            I wanted to make sure that
6       the discipline that I chose was appropriate for the
7       employee.
8               Q.      Can you circle back to the second and
9       third pages of this exhibit?
10              A.      Yes.
11              Q.      You see there's two different letters to
12      Richard Frank both dated July 2?
13              A.      Yes.
14              Q.      Okay.    Can you tell me why there was two
15      separate letters sent to him?
16              A.      Yes.    The first one and the second one.
17      The first one I'm seeing is the one that had more
18      detail describing actions taken by Jim Garavaglia.
19      The second one does not describe those actions.                     I
20      was advised by counsel to be more clear, that Jim
21      did not -- would not know why he was being put on
22      forced leave.
23                      MS. HAMILTON:       I'm going to object to --
24              that those conversations are attorney-client
25              privilege.

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1       know who Ashley McClain is?
2              A.       With the Civil Service Commission.
3              Q.       Were you aware that a civil service
4       hearing had been scheduled as of July 11?
5              A.       Based on the appeal that was filed.
6              Q.       Well, did you receive notice, this same
7       notice -- and I'm going to ask you to just turn the
8       page to this Notice of Institution of Case and
9       Hearing.        Did you receive a copy of that from the
10      Commission?
11             A.       Not personally, no.
12             Q.       Okay.   But were you made aware of it,
13      then, at some point?
14             A.       Yeah.
15             Q.       So you were aware it was scheduled for
16      July 23?
17             A.       I don't recall if I was aware at the time.
18             Q.       All right.    Related to his forced leave
19      and making your decision, after he was placed on
20      forced leave on July 2, what did you do to assist
21      you in making that determination?                   I can repeat the
22      question.
23             A.       Please do.
24             Q.       So relative to you making the decision as
25      what to do after he was placed on forced leave, Jim,

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1       I mean, what actions or steps did you take to help
2       you in making that decision?
3               A.      One of the things, that I spoke with
4       counsel.
5               Q.      Okay.   Did you do anything else?                No need
6       to talk about what counsel said.                      We're going to not
7       talk about that.
8               A.      I probably spoke once again to either
9       Linda Thomas or the Director of Personnel.                       Those
10      would have been the steps.
11              Q.      Okay.   If you skip forward a few more
12      pages, you'll see a memorandum with Nancy Kistler,
13      with the City counselor's office, Ms. Morton, your
14      secretary, dated July 12, 2019.
15              A.      Yes.
16              Q.      Are you familiar with this?
17              A.      Yes.
18              Q.      Okay.   Who requested that she prepare
19      this?
20              A.      Counsel.
21              Q.      All right.      All right.            Can you
22      fast-forward, then, past those two documents to a
23      memorandum from you to Richard Frank dated July 15,
24      2019.        Do you see that?
25              A.      Is it dated July 15?

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1              I think it's the other way around.
2                        MR. SCHMITZ:     You're right.           Strike that.
3              Q.       (By Mr. Schmitz)       So it's from Linda Thomas
4       addressed to Rick.          And it says:             I told the
5       comptroller to withdraw her request for forced leave
6       on J.G.
7                             Do you have any recollection of Linda
8       Thomas telling you to withdraw your request for
9       forced leave?
10             A.        As I stated before, I was in consultation
11      with Linda Thomas and the Director of Personnel
12      along with counsel during those periods of time
13      seeking direction.
14             Q.        Right.   So I don't want you to answer
15      anything that involves counsel's advice or direction
16      or the content of those conversations, but this is
17      an e-mail where Linda Thomas is making a
18      representation to Richard Frank about something she
19      asked you.
20                            So I'm asking you in that limited
21      capacity, do you recall her telling you to withdraw
22      her -- your request, excuse me, for forced leave?
23             A.        I recall seeking direction and Linda
24      giving me direction.            The auditor -- state auditors
25      were in the Office of the Comptroller performing an

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1       audit.      And I recall speaking to Linda about that.
2                          The auditors had called within days
3       of Jim being placed on forced leave.             The state
4       auditor specifically told me that she had read the
5       paper and learned that Jim was on forced leave.              And
6       that she recognized he was a high-level employee.
7       And specifically she asked, do I have anything to
8       worry about -- or do we have anything to worry
9       about?      And at the time, I told her no, because I
10      didn't believe she did.         That was within the 14
11      days.
12                         After learning that there were
13      documents that were official City documents that
14      were contracts and they were signed by Jim
15      Garavaglia, within a few days later, I called that
16      auditor back.      And I said, I know you're in the
17      office auditing and you are auditing contracts.              We
18      have learned that there's a reason for you to be
19      concerned.
20                         They asked me to send them the
21      documents.      And I did so.      I sent the auditors the
22      documents that had been signed by Jim Garavaglia.
23      And they told me that they would get back to me.
24      Asked what they would do.          And they said they would
25      let me know.

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1                            So this would have been in a few
2       days.        And then I discussed all of this with Linda
3       Thomas as to what to do now since this is coming to
4       the time we're going to have a hearing and all of
5       this.        She let me know there's nothing wrong with
6       expending an investigation now that you heard from
7       the auditors, now that they're involved.            She said
8       those things in this e-mail, giving me instructions
9       on what I needed to do.
10              Q.      Did the auditor ever present you with a
11      report?
12              A.      The auditors didn't get back to me in a
13      timely manner.        And I did take it upon myself to
14      call to find out if, in fact, there was going to be
15      an audit performed.        And I finally got an answer
16      from the auditors that they were not going to audit
17      the documents that I sent, because they had a
18      specific scope of work that they were interested in
19      completing, which was fiscal year 2018.            And those
20      documents are outside of their scope of work.            And
21      they said they would not be giving me any audit
22      report on that.        And that answer came from them in,
23      I believe, August.
24              Q.      Did they ever subsequently do an audit on
25      2019?

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1              A.       I never followed up.           As the comptroller
2       of the City, it was my responsibility to follow up
3       if, in fact, I wanted them to take further steps to
4       specifically audit the records surrounding those
5       documents that were signed by Jim Garavaglia.
6              Q.       Okay.   So you didn't ask -- just so I'm
7       clear on your answer, you didn't ask and they did
8       not do it; is that correct?
9              A.       That is correct.
10             Q.       Thank you.    If you could turn the page
11      from that, you see there's a letter to Mr. Frank
12      again dated July 18.
13             A.       Yes.
14             Q.       Okay.   And again you're requesting he be
15      placed on forced leave?
16             A.       Yes.
17             Q.       Did you then withdraw your original
18      request for forced leave as recommended by Linda
19      Thomas?
20             A.       I believe that is the letter dated July 18
21      to Richard Frank stating as such.
22             Q.       Well, I see that you're requesting it.
23      Just so I'm clear, had you already withdrawn your
24      prior requests dated July 2, had you actually
25      withdrawn that request before you issued --

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1       Ms. Morton on behalf of you, using your e-mail
2       address, wrote:           Dear Mr. Frank, my apologies.
3       Please see attached revised letter.
4                            Do you know why approximately 25
5       minutes after Mr. Frank was informed that a letter
6       had been hand delivered, she then sent a revised
7       letter?
8               A.      From what I'm reading here, it states from
9       Richard Frank that he wrote:                 Thank you.
10                           And he wrote:           Could you also add
11      words "serious" and/or "fiscal" before improprieties
12      to strengthen and clarify.
13              Q.      Right.     I believe, unless I'm wrong,
14      that's in response to what Ms. Morton wrote prior to
15      that.        Because what she wrote is time stamped 2:50.
16              A.      And two minutes later, he writes --
17              Q.      And I'm going to get to that.             My question
18      was not -- I don't want to confuse the issue.                   My
19      question was, do you know why Chana sent a revised
20      letter 25 minutes later before he responded two
21      minutes later?           Because it appears there was a
22      letter delivered that was sent and then there's no
23      subsequent e-mail response that was provided to us
24      from Richard Frank, but yet Chana, 25 minutes later,
25      sent a revised letter.             Do you know why there was a

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1               Q.      I just wanted to make sure that was still
2       the case after your attorney asked that question,
3       so.
4                              So you were asking now for a 30-day
5       extension?
6               A.      Yes.
7               Q.      All right.     Why did you ask this at this
8       time?
9               A.      I asked for this extension and additional
10      time, because I had not heard from the auditor.
11              Q.      All right.     And why did you not seek or
12      issue -- Strike that.
13                             Why did you not issue a notice of
14      pretermination at this time?
15              A.      I asked for this extension, because I had
16      not heard from the auditor.                And I had preference --
17      or preferred that I hear a response from the
18      auditor.
19              Q.      Did you believe at this point in time that
20      you had a sufficient basis to request termination?
21              A.      Well, that wasn't my concern.          My concern
22      was to have a complete picture of the situation that
23      we had and have a complete picture of my problem.
24      And I thought that with the auditor's input, I would
25      have more clarity and I would have more information.

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1       So I wanted to have the auditor's input.                   And so I
2       did discuss this with Linda Thomas and Richard
3       Frank.      And then this extension was requested.                  And
4       it was later rejected.             But it was requested because
5       I wanted the information.               And I had not heard back
6       from the state auditors.
7              Q.       Had you made your decision as to whether
8       or not you were going to seek termination?
9              A.       No.     I had not made a decision.
10             Q.       All right.      I'm going to fast-forward
11      to -- let me find it.            It's near the end.         It's a
12      letter dated August 28, 2019 from you to Richard
13      Frank.
14                      MR. NORWOOD:       Towards the back.        A little
15             bit further.
16             A.       To Mr. Garavaglia?
17             Q.       (By Mr. Schmitz)          No, no.     This is to you
18      from Director Frank.
19             A.       Director Frank?         One page over.      No.     The
20      other way.
21             Q.       Okay.     Do you have it?
22             A.       Yes.     I have the letter.
23             Q.       Do you know or can you tell me why you
24      wrote this letter?           Why did you withdraw your
25      request for forced leave on August 28, 2019?

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1              A.       That I was preparing for the hearing, a
2       pretermination hearing.             This letter was to request
3       the withdrawal of forced leave in preparation for
4       setting a hearing date.
5              Q.       Okay.    Were you aware there had been a
6       Civil Service Commission hearing scheduled for the
7       following day, August 28, 2019, regarding his forced
8       leave, Jim's?
9              A.       No, I'm not sure I was aware.        I don't
10      recall being aware of that.
11             Q.       Were you aware a motion had been filed in
12      advance of that hearing seeking a motion for
13      continuance --
14             A.       Yes.
15             Q.       -- on the 16th of August seeking to
16      continue the Civil Service Commission hearing date?
17             A.       I believe I may have been advised by
18      counsel.
19             Q.       Were you aware that the hearing officer
20      had denied a request for continuance?
21             A.       I believe I was advised by counsel.
22             Q.       When you did make the decision to
23      terminate Jim?          Was it on August 28?
24             A.       I made the decision to have a
25      pretermination hearing.             And I made the decision to

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1       have the hearing prior to putting the letter
2       together.
3               Q.      And why did you make that decision on that
4       date?
5               A.      A pretermination hearing would afford me
6       the opportunity to hear from Mr. Garavaglia and to
7       hear from his point of view as he would explain to
8       me his actions, his misconduct, the reasons why he
9       was dishonest with me on several occasions.
10                           And then of course after the hearing,
11      I would have two weeks, according to civil service
12      rules, to render a kind of discipline that would be
13      appropriate after hearing from him.                That it would
14      have been unfair to only have one side of the story
15      inserted into a decision for discipline.                And I did
16      not choose to make a one-sided decision for
17      discipline.
18                           Mr. Garavaglia had served the City
19      for more than 30 years.           And as his supervisor, I
20      recognized and honored the time spent on the job.
21      And so pretermination hearings afford not only the
22      employee but the supervisor to have a sit-down in a
23      formal manner to get an understanding as to what
24      happened from both sides point of view.
25              Q.      Did you not believe that that opportunity

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1              A.       Yes.
2              Q.       Do you recognize this e-mail chain that's
3       on this first page?
4              A.       Yes.
5              Q.       Okay.     Do you know what this e-mail chain
6       is discussing or what it relates to?
7              A.       Yes.
8              Q.       Okay.     Can you tell me?
9              A.       On this first page, this e-mail chain is
10      Beverly Fitzsimmons corresponding with Jim
11      Garavaglia as to whether or not he has told me about
12      the extension for the real estate project.             Beverly
13      is admonishing Jim Garavaglia, because she is
14      stating to him that he had told her that I was okay
15      with it.        As she states, You had told me she was
16      okay with it.           Is what I'm reading here that Beverly
17      Fitzsimmons is saying to Jim in an e-mail.
18                              Then she's telling him that she --
19      and the "she" is referring to myself -- she told me
20      that she was not.           Did you work this out with her
21      yesterday?
22                              And then Jim is replying to her:      I
23      did not talk with her about it, but I will.
24                              And then Beverly is responding:
25      Please do it soon, because Stephanie is trying to

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1       finish the agenda.
2                               And the agenda she's referring to is
3       E&A.     This was the Tuesday before E&A.               This would
4       have been at 8:40 in the morning when this
5       conversation ended.
6              Q.       When was E&A?
7              A.       Wednesday, the next day.
8              Q.       Okay.     Did you discuss this with Jim on
9       that date?
10             A.       On Tuesday?
11             Q.       Yes.
12             A.       I believe Jim called me on the day after
13      he had this discussion with Bev.
14             Q.       So the day of the E&A?
15             A.       He called me on the Tuesday after he
16      discussed on that same Tuesday morning after Bev
17      asked him to discuss with me.                  And he did say that
18      he would.        And then he called me.
19             Q.       All right.      And what did he tell you
20      during that phone call?
21             A.       I don't recall the exact conversation but
22      it was something to the effect that the mayor's
23      office wanted to put documents for the extension on
24      E&A.     And I thought that was really odd and strange
25      since the project was the project from the

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1       comptroller's office of which Jim was the leader of
2       the project from its inception even when he was the
3       asset manager.
4                          So I was listening to Jim at this
5       point to hear what else he was going to say after
6       saying that to me.      I was like hm-hm, that was kind
7       of like not what I would hear when he finally called
8       me the day before E&A.        Oh, Comptroller, the mayor's
9       office is going to put this on as an item.               Do you
10      want me to send them the documents?
11                         Another strange thing out of the
12      ordinary, send them the items.              Jim, I think you
13      already sent them the items, is what I already knew
14      as a fact.      That's when you had pre E&A, which is a
15      week earlier.      The Wednesday before the Wednesday
16      meeting, you discuss with people what you want to
17      add to the agenda.      And by that Tuesday before,
18      Beverly had already informed me that this item was
19      being added or attempted to be added by Jim.
20                         So that's why she was having the back
21      and forth with Jim, because I needed to hear from
22      Jim because Jim was in charge; not Beverly.               This is
23      a direct example of how two deputies must coordinate
24      and communicate together in order -- as a team.
25      This is team comptroller's office.               And we're in

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1       charge of this particular project.                 And so both
2       deputies needs to have an understanding that this is
3       a go or it's not.        And Jim was the No. 1 person with
4       that knowledge.
5                            Beverly could not usurp his knowledge
6       in any way, shape or form as the Muni Court project,
7       because she was working with the attorneys on both
8       sides.      That would be Tom Ray representing the City
9       and that would be the Spencer Fane attorneys
10      representing the developers.              Jim was all in the
11      mix.     And he was supposed to inform me as the
12      comptroller, as well as any other person in the
13      comptroller's office, that had anything to do with
14      helping this project come along.
15             Q.       Did you ask -- did you ask him why he had
16      waited that long to talk to you?
17             A.       I listened to Jim on the call, on the
18      Tuesday morning call where he called me and told me.
19      He is telling me the mayor's office wants to put
20      this on the agenda.        Comptroller, show us in the
21      document.        I was stunned.      I believe, but not sure,
22      that I may have said to him something to do with the
23      taxes.      But I don't know if I said that, because
24      that was what was on my mind.
25                           That was what I was unclear as to

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1       whether there had been tax clearance.                     I don't know
2       if Beverly knew.           What I did know is that the
3       conversation with Beverly and myself was we're not
4       sure what's going on with the project.                     And I
5       couldn't -- she couldn't tell me.                     I said, I don't
6       know, because I haven't heard from Jim.
7              Q.       Did you ask him?
8              A.       I didn't ask Jim to do anything except
9       when he asked me, shall I send the documents to the
10      mayor?      I said, send the documents to me.                 Now --
11             Q.       When did you talk to Bev before that?
12             A.       I talked to Bev probably right before she
13      talked to Jim.           Because I told her that I hadn't
14      heard from Jim.           She asked me had I heard from Jim.
15      No, I haven't heard from him.
16             Q.       Did you follow up with Jim to ask him
17      those questions?
18             A.       Jim called me.
19             Q.       Right.     I know.      But before that.
20             A.       Beverly asked me -- and I'm trying to
21      answer, because you asked me did I follow up with
22      Jim.     And I think you asked me after I talked to
23      Beverly.
24             Q.       Correct.     Before he reached out to you?
25             A.       No.

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1       item.        And that's the Muni Court item.                 Jim had told
2       me earlier in the month, the first week in June,
3       about the item and the extension that he thought was
4       coming.         He said, Comptroller, I don't think it's
5       going to go.
6                                From that first week, I didn't hear
7       anymore from Jim about the item.                       Now, that's
8       important, because the item was time sensitive.                          Jim
9       is deputy director -- deputy comptroller for Finance
10      & Development in charge of this project, not the
11      mayor's office, not SLDC.                The comptroller's office
12      under the direction of Jim Garavaglia, who's worked
13      consistently with this item.
14              Q.       What information do you know about --
15              A.       And as I complete my -- before you start,
16      I heard from Jim on the Tuesday before E&A which was
17      the second time I heard from him about the item.                          So
18      I'm done with my response.                 I heard from him the
19      first week of June.            And the second time I heard
20      from him was the day before E&A.                       In the meantime, I
21      was hearing from Beverly about the item.
22              Q.       Okay.     Are you done?
23              A.       Yes.
24              Q.       All right.      Do you have any knowledge that
25      things change quickly in those final days before the

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1       E&A meeting?
2              A.       Absolutely.   And that is why I should have
3       been updated and kept in the loop by Jim about the
4       item on a regular basis.           On a day-to-day basis,
5       sometimes hourly, sometimes every minute, because
6       this was a time sensitive item.                So Jim had
7       information about the item and whether it had to do
8       with the taxes, whether it had to do with a default.
9       The comptroller should have been updated about that,
10      but I was not.
11             Q.       What basis do you have to believe that he
12      had concrete information to give you?
13             A.       The basis is having looked at these
14      e-mails, in particular the ones from Beverly who is
15      insisting that he speak with me, because I'm telling
16      her from the knowledge that I had earlier because
17      Jim had already told me, hey, I don't think it's
18      going to go.        So what does Beverly know?          She
19      doesn't have the knowledge that Jim knows.                  I know
20      that as the comptroller, because I know what he has
21      put into the project.         She hasn't.
22                           So if he knows that this is something
23      that should go, then why don't I know as the
24      comptroller of the City of St. Louis.                I should be
25      well-apprised of the activities of this particular

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1       project.        And that should have come from Jim
2       Garavaglia, because it couldn't come from Beverly.
3       Had she had knowledge of it, I believe she would
4       have told me about the deal and whether it should
5       go.    But her answers to me were only, Comptroller, I
6       don't know, I don't know, I don't know.
7                            So I said, Well, I'll hear from him.
8       I'll hear from him.         Because in that month, we had
9       the closing of the refinancing of the airport deal,
10      which was highly volatile.              We also had this deal,
11      which I thought was not volatile at all, because we
12      had been working on it so diligently for so long.
13      Tom Ray, who was the outside professional attorney,
14      was very diligent in handling anything and
15      everything that had to do with this deal.
16                           As I look back and see e-mails from
17      Tom Ray regarding this deal, he's the one that
18      helped protect the integrity of the office when it
19      came to making sure this deal came to fruition when
20      Jim did not.
21             Q.       What do you know about the other attorney,
22      not Tom Ray, the developer's attorney?
23             A.       Denny?
24             Q.       Right.   Requesting to the mayor's office
25      that the item be added to the agenda?

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1       website and the comptroller's office.
2               Q.      What's that person's title?
3               A.      That's Tyson Pruitt, who is the public
4       information officer, in the Office of the
5       Comptroller, reports to the comptroller.            He became
6       aware of a posting.         Then he made me aware of that
7       posting.        Then he told me that he was going to take
8       care of it.
9               Q.      Okay.   Did he tell you where that came
10      from?
11              A.      He told me it came from the office of the
12      mayor.
13              Q.      Okay.   And how did he know that?
14              A.      Because he is the computer communications
15      person, and I believe he made inquiries, proper
16      inquiries, to determine where the posting came from.
17              Q.      Okay.   But you don't know who those
18      inquiries were to?
19              A.      I did not ask him who he inquired.      I
20      would believe he would have to check with web
21      people, web communications type IT people.            So that
22      they could identify who made postings.
23              Q.      Did you ever talk to Bev about all of this
24      after the fact, after the E&A meeting had taken
25      place?

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1              A.       I did.
2              Q.       What did she tell you of that meeting?
3              A.       After the meeting had taken place, she --
4       I spoke to her the next day, because I had never
5       heard a mayor -- any mayor read e-mails of -- of an
6       employee of other E&A member's office.                   I was
7       stunned.        Bev told me she was stunned.             And we were
8       both embarrassed.        We spoke on the phone about that.
9                            I said:     Bev, talk to me about this
10      e-mail that we didn't see or I didn't know about.
11                           She said:      Oh, yeah.         There's an
12      e-mail thread among pre-E&A.
13                           I said:     Oh.      What about it?
14                           And she explained.             In her
15      explanation, she made me to understand that when
16      there's pre-E&A items come to the table of E&A and
17      then there are e-mail discussions back and forth as
18      to what's presented and what the other offices think
19      about it and they take time to comment.
20                           And so I asked her to send them to
21      me.    I said, send them to me so I can see what
22      you're talking about.          When I saw the e-mails, I did
23      see where discussions had been between the E&A
24      members, and in particular I'm talking about this
25      item, the president of the board had decided that he

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1       did not want to hear the item.
2                             The item was sent from Jim, I believe
3       it was the Friday, the 14th, to the pre -- to
4       Beverly, who is my pre-E&A person, and asking her to
5       add it.         And then she immediately sent it to the
6       other members, Tom Shepherd and -- which represents
7       the president of the board, Tom Waelterman, who
8       represents the mayor, for consideration.                 Her words
9       were something like, here's this extension again.
10      That was the Friday or Monday.                 The president of the
11      board's office responded, we don't think we want to
12      see this item at this time.
13                            The mayor's office from Tom
14      Waelterman, I don't believe there was a response.
15      And that is how I learned or at least part of how I
16      learned how the mayor got the e-mails that she read,
17      because automatically they would have come to the
18      mayor's office and president of the board's office,
19      because Beverly sent the item that Jim had requested
20      be placed on the agenda.
21                            And so that's how I learned about the
22      e-mail that the mayor did.
23              Q.       And it's your contention that you believe
24      the item was not going to be on the agenda at that
25      time?

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1               A.      I wasn't sure about that, because I hadn't
2       heard from Jim.        And that's very sincere.             I didn't
3       know.        I even told Beverly prior to the meeting, I
4       was like, Beverly, I don't know.                   I haven't heard
5       from Jim.        I don't know what's going on.             And I
6       needed to hear from Jim.           I needed to be in the
7       loop.        I needed to be updated about the item,
8       because I was hearing that there were problems.                      In
9       fact, Jim had said earlier in the month, I don't
10      think it's going to go.
11                           So those words were still with me in
12      the month of June.        This is the month of June.                We
13      haven't even gotten to the middle of June.                   The
14      first, second week of June, I had traveled to
15      Chicago I recall.        I had to talk about financing of
16      municipal jails.        We had financed a jail 20 years
17      earlier.        I was asked to speak about that.             So I
18      know in the first week of June, that kind of thing I
19      was doing, among the other big ticket item which was
20      the airport refinance of which the mayor was asking
21      for lots of explanations and answering questions.
22                           So I had a lot on my plate in terms
23      of what I was working on in addition to this
24      particular Muni Court item.              This was a big item.
25      That those things were big.              And this was between, I

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1       guess, the first week in August.                   And I guess you
2       get to the third week, which is the third Tuesday --
3       I mean the third Wednesday, which is when the E&A
4       meeting occurred.
5                            But prior to the regular E&A, the
6       mayor called for an E&A meeting on June 11, which we
7       previously talked about.           So I prepared for that
8       meeting.        And then chose not to go because of the
9       airline situation of which the airlines was
10      displeased with the mayor having stated that she
11      would have a special meeting to vote on the
12      refinancing.        They were very displeased.             So that
13      was also in play in that time period.
14                           And as I was sitting with Jim on that
15      day, Jim never discussed with me any updates that he
16      would have had about the Muni Court project.                   He had
17      all the opportunity in the world.                   He had my full
18      attention on June 11 to talk to me about the Muni
19      project whether or not they had paid their taxes,
20      whether or not he thought the deal was going to go,
21      whether or not he wanted to put it on E&A.                   He did
22      not ask me.        That was June 11.
23                           And I'll finish so that you can
24      start.
25             Q.       You're saying he talked to you earlier in

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1       the month.        And now you're saying way back on
2       June 11, he had an opportunity to talk to you.
3               A.      I said earlier in the month --
4               Q.      What date was that?
5               A.      That would have been the first week in
6       June.
7               Q.      Why do you think that he had new
8       information to give you as of June 11?
9               A.      I am saying that if he had information on
10      that date, I was available.
11              Q.      Okay.   But you don't know if he did or did
12      not?
13              A.      I stated I did not know anything.        What I
14      do know is he didn't talk to me about it.              I'm not
15      aware that he had information or that he did not
16      have information.         I am aware that I was available
17      and made myself available.              We were face-to-face.
18      And I'm aware that nothing from Jim about the Muni
19      Court project was talked to about on that day while
20      we were in a meeting.
21              Q.      Were you unavailable at other times in
22      that month?
23              A.      I was in Chicago at a conference that I
24      just spoke to you about.            That would have been the
25      first week -- between the first and second week of

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1               Q.       So this miscommunication here, which you
2       still got your answers the day before E&A as we've
3       testified, what policies does that violate in your
4       opinion?
5                        MS. HAMILTON:     I would object that that
6               mischaracterizes the witness' testimony.
7                        But to the extent you want to answer the
8               question, you can answer.
9                        MR. NORWOOD:    I join in that objection and
10              also think it might call for a legal
11              conclusion, but subject to that.
12              A.       Well, as I understand the question, I
13      never told you that there was any violation.             And I
14      never told you there was a miscommunication.             I
15      never said that.         You're injecting that now.
16              Q.      (By Mr. Schmitz)      Do you consider it a
17      violation?
18              A.       And I never told you I consider it a
19      violation.         What I consider is insubordination for
20      an employee of mine who had direct instructions to
21      keep me in the loop as the deputy comptroller for
22      Finance & Development, and I was not kept in the
23      loop.
24                            In addition, on the Tuesday, I
25      believe there was -- I was spoken to with

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1       misinformation.        That's different from
2       miscommunication.        I was directly communicated with,
3       with dishonesty.        I was told a lie on that phone.
4              Q.       You said you believe.          So why do you
5       believe that?
6              A.       Because his words were:            The mayor wants
7       to add the item to the agenda.                Do you want me to
8       send the documents to the mayor's office?                  I had to
9       consider what I knew to be true versus what he was
10      saying to me on the phone.             They didn't connect.
11             Q.       What did you know to be true?
12             A.       What I knew to be true from Beverly was
13      that Jim was adding the item.               He's telling me that
14      the mayor's adding the item.              So I didn't know who
15      to believe.        Remember, this is at 9:00 something in
16      morning.
17             Q.       So you're saying --
18             A.       Later on in the day -- I'm answering the
19      question as fully as I can, because it does sound
20      strange here.        But these are the facts.
21                           I heard from Beverly.            Then I heard
22      from Jim.        Then I heard from Tyson Pruitt who's
23      telling me the mayor's posting.                So now what Jim is
24      saying at 9:00, I'm hearing from Tyson later in the
25      day, that there's this posting.

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1               Q.      Well, that tends to suggest that it's
2       true, does it not?
3               A.      It suggests in the moment that I'm hearing
4       from Jim, and he's not telling me anything at all
5       about him adding the project, he's telling me about
6       the mayor.        I hadn't heard from him about his
7       activities.        He's my employee.          I need to hear your
8       activities.        I don't want you to tell me about
9       somebody else that's not in our office.                You're on
10      our team.        What are you doing with regard to this
11      project?        Like I had heard in all the months in the
12      past.
13                           Every single time prior to this time,
14      Jim had updated me properly.              And I had proper
15      information when this item -- this, as a matter of
16      fact, is probably the third extension.                The other
17      two extensions, I had no problems hearing from Jim
18      about why this project should go on the E&A or not.
19      Beverly never informed me about whether the project
20      should go on the agenda or not.                It was always Jim.
21                           As a matter of fact, if you look at
22      the agendas, you will see that it's coming from
23      deputy director -- I mean deputy comptroller for
24      development, Finance & Development.                That's who
25      places it on the agenda.           And those discussions then

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1       have to be had between the supervisor, which is me,
2       Comptroller Green, and deputy comptroller, which is
3       Jim, had been had.          First time it was put on the
4       agenda.         Second time it was put on the agenda for
5       this.        And this third time, I don't know what
6       happened.
7               Q.       Again, the claim that the mayor -- you're
8       saying that that was a lie, that the mayor wanted to
9       put -- I'm not hearing any evidence.                 Whether Jim
10      wanted to add it or not, how is that evidence that
11      the mayor's office didn't also want to add the item?
12              A.       It's evidence because -- or what I heard
13      in the early hour was contrary to what I knew at the
14      early hour.         Notwithstanding all of what Jim knew.
15              Q.       What did you know about the mayor's office
16      adding it to the agenda at that early hour?
17              A.       What Jim told me.
18              Q.       Okay.   Did you have anything that
19      suggested that that was false?
20              A.       Yes, I did.
21              Q.       And what is that?
22              A.       The knowledge from Beverly.
23              Q.       So Beverly had direct knowledge that the
24      mayor's office did not want to add it to the agenda?
25              A.       What she had was the knowledge that Jim

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1       And there would be others that a counselor or lawyer
2       would know that I would not know perhaps.
3               Q.       All right.
4                                     (Whereupon Exhibit S was marked
5                                     for identification.)
6               Q.      (By Mr. Schmitz)       So I have what's marked
7       Plaintiff's Exhibit S, which the first page is a
8       letter stating it's from you to Jim dated July 21,
9       2017.        Do you see that page?
10              A.       Yes.
11              Q.       All right.     Do you recall writing this
12      letter?
13              A.       Yes.
14              Q.       Okay.   Why did you write the letter?
15              A.       I wrote the letter to inform Jim that he
16      did not have and he was not authorized to sign
17      agreements on behalf of the City of St. Louis as
18      deputy comptroller for Finance & Development.                     The
19      signature that he signed on an agreement with the
20      composting company were erroneous.                   They were
21      extensions between the City of St. Louis and the
22      St. Louis composting company.                 And it was a reminder
23      to Jim, because I had verbally told him one year
24      earlier that I recall when he asked if he has
25      signature authority, and I verbally told him he did

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1       not.
2                          And I recall that so clearly because
3       Tom Ray called me right after I had the discussion
4       with Jim about signature authority.              And at the
5       time, I thought since he was brand-new on the job,
6       that he maybe thought this came with the new job.                I
7       explained that it did not.           I explained Beverly
8       Fitzsimmons, who was the deputy comptroller, was the
9       only designated one besides myself that had the
10      authority to sign agreements on behalf of the City,
11      binding the City.      And that he did not have that
12      authority.
13                         So when I saw this signature wherein
14      Jim Garavaglia was crossing out my name and title on
15      a contract extension and replacing it with his name
16      and title and signing it in an attempt to inform the
17      contractor, as well as the Department where the
18      contractor was contracting with which was the
19      Forestry Department, that there was a new procedure
20      wherein his signature was good.
21                         I had to inform Jim that he was
22      incorrect.      And that I stated in this e-mail, as you
23      can see, I'm puzzled as to how this could happen.
24      This is an improper procedure.              And I asked Jim to
25      please work with Beverly Fitzsimmons so that

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1       Michelle Graham, who was in contract compliance
2       office, can process and provide a properly executed
3       extension.        Because what he had provided was not
4       properly executed.           And it would be putting the City
5       and the contractor at risk.
6              Q.       Did you ever have a discussion with Jim
7       about any opinions related by the City counselor's
8       office related to this?
9              A.       No.     Jim did not contact me after he went
10      to the City counselor's office seeking their advice.
11      Had he contacted me, then we could have had that
12      discussion.           But I was unaware that he was seeking
13      advice outside of the advice I had given him
14      directly as his supervisor.                 Jim did not follow my
15      advice.
16                              But I was fortunate that when he did
17      seek the advice of Tom Ray who was outside counsel,
18      Tom Ray e-mailed me to let me know that Jim asked
19      him about signing documents.                 And that reminded me
20      that I had a verbal with Jim about signing
21      documents.        And Tom Ray then e-mailed me that
22      subsequent to my discussion with Jim that he asked
23      whether he had signatures authority obviously.                 And
24      Tom Ray told him that he would contact me.
25                              As a matter of fact, Jim is copied on

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1       Tom Ray's e-mail.        So that Tom Ray is letting Jim
2       know he is checking with the supervisor, which is
3       me, which is basically what Jim should have done.
4       In the cases where Jim sought other counsel, those
5       counselors did not e-mail me.               So I was not aware
6       and could not have ever been aware that Jim sought
7       advice to sign documents when his direct supervisor
8       had given him a direct order not to sign the
9       documents, which I did verbally as well as in
10      writing as you can see that's in this memorandum
11      today.
12             Q.       Did you do anything other than verbally
13      and in writing bring this to his attention?
14             A.       I did not.
15             Q.       Do you have any knowledge of this issue
16      with an unauthorized signature as you listed in the
17      title that occurred after July 21, 2017?
18             A.       I believe I -- I don't recall if the AT&T
19      invoice was 2017.        And I believe there may have been
20      another AT&T subsequent to that.                   But I'm not sure.
21      I believe I saw one either in 2018 and/or in 2019.
22      There was multiple AT&T documents signed by Jim that
23      had multiple dates.          So I'm not sure if the
24      July 2017 was the last one, if that's what your
25      question is, if that's the last one or if there were

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1              Q.       (By Mr. Schmitz)        I'm going to draw your
2       attention to what's now marked Plaintiff's Exhibit
3       T.    Do you recognize this document?
4              A.        Yes.
5              Q.        Okay.    What is this?
6              A.        It's internal audit document.
7              Q.        All right.     Do you see what's Bates
8       stamped, third page, GRN 000627?
9              A.        Yes.
10             Q.        All right.     That's a letter or a memo that
11      was written by Ishmael Ikpeama.                   Do you know that
12      individual?
13             A.        Yes.
14             Q.        And who is he?
15             A.        He's an employee of the comptroller's
16      office.         I believe he's retired.
17             Q.        All right.     So was he an employee at the
18      time that this was written?
19             A.        Yes.
20             Q.        All right.     And did his position which is
21      listed here as internal audit supervisor fall under
22      the supervision of the deputy comptroller of Finance
23      & Development?
24             A.        Yes.    At that time.
25             Q.        All right.     Have you seen these documents

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1       in this exhibit?
2               A.      During this process, I have.
3               Q.      All right.     Are you aware of any e-mails
4       between Dr. Ikpeama and Jim and Sonia?
5               A.      During this process, I became aware of
6       some.
7               Q.      Would you say it's a responsibility of the
8       deputy comptroller for Finance & Development to
9       ensure that the findings of this audit are accurate?
10              A.      No.
11              Q.      Do you believe that getting this done
12      timely according to the timeline set out by
13      Dr. Ikpeama supercedes the need to get the
14      information accurate?
15              A.      You mean putting out a report versus --
16              Q.      Let me ask it differently.         What is more
17      important -- Jim, as the supervisor for Dr. Ikpeama,
18      what is more important that he follow Dr. Ikpeama's
19      self-created deadline or that Jim ensures that the
20      information is accurate?
21                      MR. NORWOOD:     Let me object.      I think
22              that's a loaded question and assumes a lot of
23              facts that are not in evidence.
24                      And subject to that, though, you can
25              answer the question.

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1                        THE WITNESS:       I really don't understand.
2               It sounds like you're asking me who's more
3               important.
4               Q.      (By Mr. Schmitz)         No, I'm not asking you
5       who's more important at all.
6               A.       You're saying that Ishmael didn't have any
7       processes and procedures to follow.                    You just said
8       self-imposed.            So you took me away when you said
9       that.        Because I thought it was apparent to me that
10      you are characterizing the two.                    So please help me
11      understand what you really want to know.
12              Q.       Where does his deadline come from?
13              A.       His processes and procedures and his
14      supervisor.         He would have had someone supervising
15      him.     And in his profession as a CPA and an auditor,
16      internal audit, he would have understood his
17      processes and how long he should have to do a review
18      like this.
19              Q.       And that comes from his supervisor?
20              A.       Yes.
21              Q.       Okay.     And who did that supervisor --
22              A.       That would have been whoever at the time
23      was -- that would have been -- it would not have
24      been Jim Garavaglia in terms of deadlines, if that's
25      what you're asking.            Jim did not -- was not and is

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1       not an auditor in the office.               He's a temporary --
2       had temporary oversight of the department but not
3       the function.        And that's a distinction.           This is an
4       audit function.        That Jim could not tell them how to
5       do their independent jobs.
6                            These were professionals, and
7       licensed professionals to add to that.                 These are
8       licensed professionals who could lose their license
9       if they were to do things outside of the accountancy
10      and audit and the audit rules.                So there are audit
11      rules that govern their job.
12             Q.       What rules are those?
13             A.       The audit rules that govern the auditor's
14      jobs are spelled out for auditors.                 I'm not an
15      auditor.        So there are rules for auditors like there
16      are rules for lawyers and accountants.                 So their
17      rules would have dictated what they would have had
18      to do with regard to this review in terms of setting
19      the processes in place to audit.
20             Q.       Do you believe -- I'm not trying to
21      characterize your testimony in any way.                 I'm asking
22      this as a clarifying question that these audit
23      rules, as you refer to, are binding on him for an
24      internal audit done by the comptroller's office on
25      behalf of the comptroller's office, you know, and

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1       those are inflexible dates?
2              A.        You mean for Ishmael?
3              Q.        Uh-huh.
4              A.        I absolutely do.          Because they are
5       reviewed independently by other audit offices
6       similar to the audit office that exists in the
7       Office of the Comptroller.                 For example, the audit
8       office in the County of St. Charles independently
9       comes in and audits.             And they have a process where
10      they audit in order to keep all of the internal
11      audit offices that exist up to standard.                 And
12      they're very serious about their work.                 That's what
13      I know about that.
14             Q.        Okay.     And what if the audit has errors in
15      it?    How is that corrected?
16             A.        The auditors would correct that and
17      reissue.
18             Q.        Okay.     So again, I'm not asking about
19      independent auditor rules.                 I'm talking about your
20      rules as the comptroller for the comptroller's
21      office.         What is your expectation about getting the
22      information accurate during an audit?
23             A.        My expectation is that Ishmael and any of
24      the internal audit employees would perform in a
25      professional manner and adhere to the professional

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1       standards of their profession.                 But I also would
2       expect my employee Jim Garavaglia as the deputy
3       comptroller to adhere to the professional standards
4       of the operations of the comptroller's office.                    It's
5       an expectation that I believe I would -- it's a
6       reasonable expectation that they would be able to
7       perform their jobs in a professional manner.
8              Q.       Okay.   But that's -- I'm not sure the
9       question about professional manner came up.                 But
10      those auditor rules do not apply to Jim, correct?
11             A.       That is correct.
12             Q.       All right.    And are there independent
13      separate policies within your office that inform
14      even a deputy comptroller, that they are subject to
15      those auditor rules in terms of their supervision of
16      somebody conducting an audit?
17             A.       The auditors are subject to the rules.
18      Those who they audit, which would have been in this
19      case, Jim Garavaglia.          As the supervisor at the time
20      of the audit, he was supervising Gateway
21      Transportation.         He would have been asked by Ishmael
22      to respond.        That's what he's after, a response.
23             Q.       Okay.   So my question was, are there any
24      rules that exist within your office directing -- or
25      policies, procedures, directing deputy comptrollers

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1       on the need to follow the auditor's rules --
2              A.        Okay.
3              Q.        -- as it pertains to the supervision?                So
4       I know they're not subject directly to the rules.
5       But as it pertains to the supervision of an auditor
6       conducting an audit?
7              A.        As I understand your question, that gets
8       back to me saying my expectation for the rules in my
9       office from the comptroller's standpoint is that the
10      behavior of the deputy comptroller for Finance &
11      Development would be to perform in a professional
12      manner.         That means timeliness.           That means honesty.
13      That means being able to act in a sense of urgency
14      when those things call for that.                     That's -- and
15      perform the job, his job, in a professional manner.
16             Q.        Would that also be --
17             A.        So that would be to simply respond.
18             Q.        Would that include accuracy?
19             A.        From his position, of course.
20             Q.        Okay.   Due diligence?
21             A.        Due diligence, of course.              Because the
22      request from the internal auditor is for a response.
23      The internal auditor is not said to be always
24      accurate.         That's why you ask for the auditee's
25      response.         Because if, in fact, the auditee finds an

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1              recall I had spoken to Lyda Krewson about a
2              year earlier about a deputy comptroller job.
3              She turned me down.           I was just thinking that
4              when you asked the question.                   This was before
5              she became the mayor.
6              Q.       (By Mr. Schmitz)       Okay.         Well, this would
7       have been back when Jim was --
8              A.        This was before Jim.
9              Q.        Yeah.   I was specifically asking about
10      this go around.
11             A.        I understand, but I was still thinking.                 I
12      was trying to make sure that I wouldn't leave
13      anybody out that I had considered for the position.
14      And Lyda Krewson was considered, because I asked her
15      directly.         We both sat at the airport commission
16      meeting.         There was one meeting.              And she looked at
17      me like I would get a look like -- I forget what she
18      told me.         But she told me -- oh, you said, I have a
19      job.     That's what she said.
20                       MR. SCHMITZ:     Can you repeat that last
21             question?
22                       THE COURT REPORTER:          Question:      If there
23             was a male and female candidate that you were
24             considering and all things were equal, do you
25             feel like it would be okay to select a

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1              candidate based on their gender at that point?
2              A.        I guess I don't look at gender in terms of
3       positions when I'm wanting to hire.                   I never have
4       and I never will.         The gender has nothing to do with
5       the work qualifications for a job.                   And so I would
6       say absolutely not.
7              Q.       (By Mr. Schmitz)      Have you ever considered
8       age before when considering somebody for a position?
9              A.        Absolutely not.      I never considered age,
10      gender, race.         Age, gender, race.            What's the other
11      thing?      Color, sex.     I don't consider those kinds of
12      things when I am looking for qualified professionals
13      to take a job in the Office of the Comptroller,
14      because those things are not important.                   What is
15      important is the qualified individual willing and
16      able to take the job.            And they will come with the
17      qualifications to do the job.                And they live in the
18      City of St. Louis.
19             Q.        Do you consider factors related to age?
20      And this is specific to age, not the other items
21      that you mentioned.
22             A.        I never consider age.
23             Q.        If I could finish my question.            I was
24      going to ask something specific.
25                            Not age.     You already answered that

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1       question.        But likelihood of how long that
2       individual is going to work or --
3              A.       Absolutely not.      No.
4              Q.       Do you consider whether or not you think
5       that person's likely to stick around or move on to
6       another job?
7              A.       No, not at all.      If they're accepting a
8       position and the circumstance which has been
9       explained to them, living in the City of St. Louis,
10      that has been the most question when a person has
11      qualified, would come and accept the job.               If they
12      don't live in the City of St. Louis.               And I believe
13      the City of St. Louis gives you six months to move.
14      So of course I would have wanted to have the
15      employee in the position longer than six months.
16             Q.       Do you think that you have any right or
17      authority to consider any of those factors at all
18      before, age, gender, race, any of those factors at
19      all?
20             A.       I do not consider any of those factors at
21      all, whether I have the right or not.               Because that
22      is not in my character to do so and is not in the
23      best interest of hiring practices for myself or for
24      the City of St. Louis.          It's just not in the best
25      interest to be considering those factors.

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1              hypotheticals, but subject to that.
2              A.       I don't know.
3                       MR. SCHMITZ:    I think that's all I have.
4                       MR. NORWOOD:    Okay.       I've got some
5              follow-ups.      Let me dive right in.
6                                [EXAMINATION]
7       QUESTIONS BY MR. NORWOOD:
8              Q.       Counsel made a point about the fact that
9       when you talked to Jim that Tuesday before the E&A
10      meeting, that Jim made a reference to the mayor
11      wanting to place the item on the agenda.               Do you
12      recall that?
13             A.       Yes.
14             Q.       Was it your expectation that he would have
15      communicated to you that he had already made a
16      request for that to be placed on the agenda?
17             A.       I did, as well as I was very hopeful that
18      I would get a full update on the project from Jim.
19      I was stunned that I did not get a full update about
20      the particulars of the project, whether or not taxes
21      were paid, if that was an issue, whether it was
22      going to be in default, anything like that.                 I was
23      stunned about what I heard instead of what I was
24      expecting to hear.
25             Q.       So just so we're clear on the record, it

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1       wasn't that the mayor was placing the item on the
2       agenda.         It was the fact that he hasn't communicated
3       to you that he made that request to place it on the
4       agenda on your behalf?
5               A.       On my behalf.     And he could have told me
6       the reasons for the request and the reasons why we
7       need to go ahead and put this on the agenda and on
8       and on and on.         And I would have supported Jim.
9       Because in times past, I would have supported him if
10      he had particular -- and I have to say I heard from
11      his deposition that he was knowledgeable and in
12      contact with the collector of revenue about the
13      taxes, but I didn't know about that until the
14      deposition.
15                            Had I known about that with the
16      deposition, Jim and I could have had a more
17      intelligent conversation with information that he
18      knew.        I had no knowledge of his interactions with
19      the collector of revenue and attempting to get the
20      taxes and all of that.           Had I known that, that could
21      have been an item put on the agenda from the
22      comptroller's office as he had requested.            But
23      because I was kept out of the loop by Jim and made
24      to not have that knowledge, I couldn't work to help
25      Jim to support him to get the item on the agenda.

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1                       So the fact that the mayor was
2       putting it on the agenda was not only confusing, but
3       as I said earlier, I had two different comments.
4       One made by Beverly and one made by him.       In that
5       split moment, I said, Jim, send the documents to me.
6       Then I had to do all the work at that time.         Then I
7       learned later there was an attempt to put the
8       documents on.
9                       But the matter at 9:00 in the morning
10      that Jim had full control of could have been --
11      could have stopped not only the mayor but also his
12      first request if he had fully apprised me and told
13      me why he thought the item should go on the agenda.
14      Then I would have said, have you told Beverly this,
15      or are we all going to be on Team Comptroller to get
16      this item on the agenda?
17                      I was not afforded that because the
18      behavior that I got from Jim was unbecoming of a
19      professional at his level to misinform me.         I was
20      misinformed on that call.       And I can't express that
21      enough, because I should have been well informed
22      instead of misinformed.      You gave me all the
23      information so I can make an intelligent decision.
24      But he didn't do that.     That's why we're here today,
25      I guess.

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1                               If he had done that and done his job
2       in a professional manner, which I'm pretty sure that
3       I had a reasonable expectation of having him be
4       professional and doing his job at the level and
5       having a sense of urgency to make sure I'm apprised
6       of this issue so this item can move forward.                   I
7       didn't get that from Jim on that day.
8              Q.       Okay.     Let's talk generally about why is
9       it important for your deputies to keep you -- you
10      referred to -- the term you used was in the loop.
11      Why is it important for your deputies to keep you in
12      the loop of what's happening with respect to
13      projects that impact your elected duties as the
14      comptroller?
15             A.       It's always important to keep me in the
16      loop as a deputy comptroller, because the deputy
17      comptrollers represent me to the public.                   The deputy
18      comptrollers are my eyes and ears to those who are
19      developers, investment bankers, lawyers, and others
20      who are working projects.               They're speaking on
21      behalf of the comptroller in most cases.
22                              And in some cases, the deputy
23      comptrollers can misrepresent.                   And I believe in
24      this case, Jim misrepresented on my behalf.                   It
25      appears from the e-mail trail, that it was told to

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1       Jim in some manner that I was not in favor of the
2       project.        And that never existed whatsoever.
3              Q.       Okay.     You also used the term "integrity"
4       of the office.           Could you explain a little bit more
5       about why that's important from the standpoint of
6       your elected duties as the comptroller?
7              A.       The integrity of the Office of the
8       Comptroller is really important to protect.                   And you
9       protect it by behaving in a professional manner and
10      performing your job duties with honesty.                You
11      perform your job duties with professionalism.                   And a
12      high level of sensitivity exists, because you're
13      talking about financial documents.
14                              And so we want to have the integrity
15      of the Office of the Comptroller protected in the
16      manner with your behavior.                Your work behavior is
17      going to show in your manner of conduct that should
18      show that you're honest and that you have a sense of
19      professionalism that is deserving of being in the
20      Office of the Comptroller.
21             Q.       Now, has your office since you have been
22      in charge as the comptroller received awards for the
23      work that you have done in terms of keeping the
24      fiscal responsibilities, performance, and integrity
25      of the City?        What awards did you receive?

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1              Q.       Just for the record, Chana is an African
2       American -- Chana Morton is an African American
3       female; is that correct?
4              A.       Yes.
5              Q.       And what about you mentioned Bev
6       Fitzsimmons, your deputy; did you do ratings for
7       her?
8              A.       No.
9              Q.       Except --
10             A.       Except for required ratings.
11             Q.       And she is -- just for the record, what is
12      her race?
13             A.       She's white.
14             Q.       What about Tyson Pruitt, did you do
15      ratings for him?
16             A.       No.
17             Q.       And what is his race?
18             A.       Except for the ones required.
19             Q.       Okay.   And what is his race, for the
20      record?
21             A.       He's white.
22             Q.       Okay.   Have you ever in all of your years
23      as deputy comptroller -- as comptroller for the City
24      of St. Louis, have you ever heard of a situation
25      where important time sensitive deal documents were

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1       placed in interoffice mail?
2              A.       Not ever in my whole 27 years as
3       comptroller of the City of St. Louis have I ever
4       heard of time sensitive documents being placed in
5       interoffice mail, not ever.               And also I have to add
6       to that neither has Tom Ray, who obviously knew that
7       he needed to alert the Office of the Comptroller
8       that this was happening at the time for these types
9       of time sensitive documents.
10             Q.       Okay.   Now, you were shown Exhibit S,
11      which is a memo you prepared to Jim regarding his
12      attempt to have a St. Louis composting contract
13      executed by Jim.         Do you recall that discussion?
14             A.       Yes.
15             Q.       Okay.   As you testified this wasn't the
16      first time you had discussions with Jim about
17      signature authority; is that correct?
18             A.       That is correct.
19             Q.       All right.    In fact, you identified a
20      situation that was at least a year prior where he
21      apparently went around you and went to Tom Ray to
22      get some advice about signing?
23             A.       After I had verbally admonished him about
24      signing.        And I said admonish.           It could be the same
25      to inform or counsel.          To let him know Beverly

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1                              You wrote that to him, right?
2              A.       Yes, I did.
3              Q.       And when you said as you know, was that
4       based upon the fact that you had had these
5       discussions with him before?
6              A.       I had previous discussions with him.             So I
7       knew that he knew.
8              Q.       Did he ever come to you and say, no, I
9       didn't know?
10             A.       He never did.
11             Q.       And you go further and say:           As
12      comptroller, I am authorized and I have also
13      authorized Deputy Comptroller, Beverly Fitzsimmons.
14                             Right?
15             A.       Yes.
16             Q.       All right.      And you had told him that
17      before, correct?
18             A.       Correct.
19             Q.       Years before?
20             A.       Correct.
21             Q.       All right.      When he received this memo,
22      after he received this memo, after July 21, 2017,
23      did Jim ever come to you and say, oh, by the way, I
24      have already signed off on contracts for AT&T and
25      for Waste Management?            Did he ever do that?

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1              A.       He never did.
2              Q.       Would it be your expectation that he would
3       come to you and tell you that?
4              A.       I would have expected that Jim would have
5       performed with the professional behavior and come to
6       me to tell me that he had signed other documents
7       after he had received this memo from me, but he did
8       not.
9              Q.       Okay.     At the time you wrote this memo,
10      did you know he had signed off on these other
11      contracts?
12             A.       I did not know that until he -- I did not
13      know at the time at all.              I did not know until a
14      year or two years later.
15             Q.       How did you find out about the fact that
16      there were these contracts out there and that he had
17      signed purportedly on behalf of the city?
18             A.       Once Jim decided to retire, other
19      employees took time to perform his duties.              And as
20      they were doing their regular duties, performing
21      their regular duties, they submitted a form.              They
22      submitted a voucher for payment for Waste Management
23      and it was rejected.            And it was rejected because
24      there was no current contract on file.
25                              And so there couldn't be, because

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1       they hadn't been being paid.                  So then the Waste
2       Management company was contacted and they
3       immediately sent us a contract that had been signed
4       by Jim.         It was a three-year extension that was
5       signed by Jim.            And so we submitted it or at least I
6       was told that Judy Armstrong, not knowing any
7       better, submitted to the contract administrator who
8       knew better.            She said this can't be.        This is not
9       legitimate.
10             Q.        Okay.
11             A.        So then she moved to take steps to get a
12      legitimate three-month or four-month extension so
13      that the Waste Management people could continue to
14      be paid.
15             Q.        And this discovery happened during the
16      time he was on forced leave; is that right?
17             A.        Yes.     And this was within a few days.           He
18      was on forced leave as of July the 2nd.                  This
19      discovery happened within less than seven days.
20             Q.        Okay.     Let me show you -- I want to go to
21      Exhibit O.         There was a reference to some letters
22      dated July 15, 2019.             So let's go to those.
23                               Do you know if those letters were
24      actually submitted to Mr. Frank and to
25      Mr. Garavaglia on July 15, 2019?

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1       approval?
2              A.       It probably is Mr. Frank's approval.
3              Q.       Okay.    Let me close it out.        Do you know
4       if Judy Armstrong as the appointing authority would
5       have also consulted with Director of Personnel and
6       Linda Thomas in conjunction with the forced leave in
7       this case?
8              A.       Yes.
9              Q.       Okay.    Now, these deals that ultimately
10      were completed on time, were they completed on time
11      because there were guardrails in place in terms of
12      professionals, outside professionals, like Opinsky
13      and Tom Ray to make sure that they stayed on track?
14             A.       Absolutely.     That is correct.       Those
15      professionals, lawyers, bond lawyers, as well as
16      investment bankers were very aware of the timeline
17      and schedules.          And they were there to help to make
18      sure that these deals got done properly.                Even Tom
19      Ray would chime in, step in to make sure deals got
20      done without any delay.             That's how they got done
21      without delay.
22             Q.       When you found out about Tom Ray reaching
23      out to Chana to alert her of the problem with the
24      timing on getting these documents executed, did that
25      jump out to you as being unusual?

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1              A.       It was alarming to say the least.       That he
2       had to take the time.         Because in his e-mail, he's
3       also copying Jim.        But he's directed it to the
4       secretary of the comptroller letting us be alerted
5       that we're going to have a problem, because Jim is
6       basically not handling his job in a professional
7       manner to get the documents circulated in a timely
8       manner so there's a closing.
9                            He lets us know there's a closing.
10      He lets us know documents are in interoffice mail,
11      which is a mistake.        He says to call him on the next
12      day so he can be of help.            Instead of calling him on
13      the next day, I chose to call him on the same day,
14      along with Jim, along with Sherry Wibbenmeyer in the
15      mayor's office, my secretary and myself, the five of
16      us was on that call.         And I asked him did he have a
17      plan for getting the documents executed in a timely
18      manner.
19             Q.       And he was going to be on vacation the
20      very following day; is that right?
21             A.       That is correct.       And that is why I chose
22      to call him that day, because I didn't know if I
23      would be able to get in touch with him the next day.
24      So if he had told me he had a plan in place to take
25      care of the execution, then I would have been secure

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1       in that.         He did say that his secretary, Sheila,
2       would be delivering the documents to my office the
3       next morning.
4                                That was after I asked him, could
5       he -- I asked him where were the documents at that
6       moment.         He told me they were in the mail.                My
7       question was a leading question.                       And the leading
8       question was in an attempt to see if Jim was going
9       to offer to go get the documents out of the mail.
10      And he did not.
11             Q.        Are we talking about interoffice mail?
12             A.        I'm talking about interoffice mail before
13      the close of business at the City of St. Louis on
14      the day before he was going on vacation.
15             Q.        Okay.
16             A.        Jim showed no urgency to have the
17      documents ready for my signature in a timely manner.
18      But he did in his deposition talk about that the
19      documents needed review.               So when I heard the
20      deposition, I didn't understand how he was going to
21      be reviewing the documents that came out of the mail
22      on the day that he was driving out of town.                       Those
23      things didn't register.
24             Q.        All right.
25             A.        He said that in his deposition.                He was

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1       going out of town on that call before the close of
2       business.         Before he left, those documents -- he
3       made no attempt to take them out of the mail for a
4       review that he talked about at his deposition.
5              Q.        Okay.     We talked about the Muni Court
6       project.
7                        MR. BLANKE:      Let me interrupt you for a
8              second.       I want to object just for the record.
9              I think we're over the seven hours now in
10             total.
11                       MR. NORWOOD:       You have a seven-hour limit.
12             I can use any of my seven hours.                   I am going to
13             wrap it up.
14             Q.       (By Mr. Norwood)         But my question to you
15      is -- let's talk about the Muni Court project.                     What
16      is that?         How many millions of dollars is involved
17      and what project are we talking about when you say
18      the Muni Court project?
19             A.        We're talking about a project where the
20      developers were going to redevelop the Muni Court
21      into a hotel.            And then that hotel would have also
22      be redeveloped into a parking lot.                     And that would
23      have took a building that is not in use right now
24      and pull it into full effect and use and would not
25      only create jobs, they were expecting there would be

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1       anywhere between 60 to 70 jobs created, along with
2       the revenues from the hotel taxes and sales taxes
3       for that particular location right now, which is
4       right now an unused building and boarded up.
5              Q.       Okay.   Let me close with this.           And I'll
6       ask you point blank.           Did Mr. Garavaglia's age,
7       race, or sex have anything to do with the steps you
8       took as it related to the first, the second forced
9       leave or pretermination?
10             A.       Absolutely not, no.          Absolutely not.      Not
11      at all.
12                      MR. NORWOOD:     All right.         I have no
13             further questions.
14                      MR. BLANKE:     Do you have anything else?
15                      MR. SCHMITZ:     No.
16                      MR. NORWOOD:     We'll read.
17                                 (Whereupon signature was
18                                 reserved.)
19                                 (Off the record at 6:36 p.m.)
20
21
22
23
24
25

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